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13                                 UNITED STATES DISTRICT COURT

14                                NORTHERN DISTRICT OF CALIFORNIA

15                                           SAN FRANCISCO

16   PANGEA LEGAL SERVICES; DOLORES                    Case No. _______________
     STREET COMMUNITY SERVICES, INC.;
17   CATHOLIC LEGAL IMMIGRATION NET-                   Hon. ___________________
     WORK, INC.; and CAPITAL AREA IMMI-
18   GRANTS’ RIGHTS COALITION,
19                  Plaintiffs,
20          v.                                         COMPLAINT FOR DECLARATORY AND
                                                       INJUNCTIVE RELIEF AND
21   U.S. DEPARTMENT OF HOMELAND                       ADMINISTRATIVE PROCEDURE ACT
     SECURITY;                                         CASE
22   CHAD F. WOLF, under the title of Acting
     Secretary of Homeland Security;                   DEMAND FOR JURY TRIAL
23   KENNETH T. CUCCINELLI, under the title of
     Senior Official Performing the Duties of the
24   Deputy Secretary for the Department of
     Homeland Security;
25   U.S. CITIZENSHIP AND IMMIGRATION
     SERVICES;
26   U.S. IMMIGRATION AND CUSTOMS
     ENFORCEMENT;
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 1   TONY H. PHAM, under the title of Senior
     Official Performing the Duties of the Director of
 2   U.S. Immigration and Customs Enforcement;
     U.S. CUSTOMS AND BORDER PROTECTION;
 3   MARK A. MORGAN, under the title of Senior
     Official Performing the Duties of the
 4   Commissioner of U.S. Customs and Border
     Protection;
 5   U.S. DEPARTMENT OF JUSTICE;
     WILLIAM P. BARR, under the title of U.S.
 6   Attorney General;
     EXECUTIVE OFFICE FOR IMMIGRATION
 7   REVIEW; and
     JAMES MCHENRY, under the title of Director
 8   of the Executive Office for Immigration Review,

 9                 Defendants.

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 1                                               INTRODUCTION

 2             1.     This action challenges a final rule issued by the Departments of Justice and Homeland

 3   Security (the “Rule”). See Procedures for Asylum and Bars to Asylum Eligibility, 85 Fed. Reg. 67202

 4   (Oct. 21, 2020). The Rule imposes several vague and sweeping new bars to asylum eligibility, frus-

 5   trates the purpose of state criminal dispositions, and strips asylum-seekers of protections set forth in

 6   the Immigration and Nationality Act (“INA”). These changes will dramatically curtail the availability

 7   of asylum to people fleeing persecution, in contravention of the INA’s plain language and the United

 8   States’ international commitments. The Rule will thus have a devastating impact on asylum-seekers

 9   and immigration legal services providers—including Plaintiffs and the communities they serve.

10             2.     The toll the Rule will take is best illustrated by the stories of real clients represented by

11   Plaintiffs. For example, Dolores Street Community Services, Inc.’s (“DSCS”) client, Bryan*, has

12   been a lawful permanent resident for many years.1 Bryan suffers from psychotic disorder and related

13   substance abuse issues; as a result of these mental health challenges, he was arrested multiple times

14   and sustained several convictions that threatened his lawful permanent resident status. Bryan was

15   placed in removal proceedings, where he sought asylum, among other forms of relief. With DSCS’s

16   help, Bryan has been able to access—for the first time—substance abuse and mental health treat-

17   ment. DSCS has also helped Bryan vacate some of his prior convictions, because he did not under-

18   stand the nature or immigration consequences of the proceedings at the time. Under current law, these

19   vacaturs carry legal weight even though they were obtained after Bryan was placed in removal pro-

20   ceedings, as they should: Bryan’s constitutional rights were violated at the time of his criminal cases,

21   and he should not now suffer immigration consequences as a result of those unlawful convictions. The

22   Rule, however, would severely prejudice respondents like Bryan by requiring him to demonstrate these

23   illegalities yet again in immigration court.

24             3.     At least six aspects of the Rule are unlawful. First, the Rule would create several new

25   categorical bars to asylum eligibility that conflict with the INA’s text and structure and the United

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     1
         This name has been changed to protect the client’s safety and preserve confidentiality.
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 1   States’ international treaty obligations, which Congress has directly incorporated into U.S. law. These

 2   bars would categorically exclude from asylum eligibility any person with:

 3        •        any conviction for bringing in or harboring certain aliens under 8 U.S.C. § 1324(a)—

 4                 even if the asylum-seeker was just bringing their own spouse, child, or parent to safety;

 5        •        any conviction for illegal reentry under 8 U.S.C. § 1326;

 6        •        any conviction for an offense the adjudicator knows or has some unspecified “reason to

 7                 believe was committed in support, promotion, or furtherance of the activity of a criminal

 8                 street gang”;

 9        •        any conviction for an offense involving driving while intoxicated or impaired that results

10                 in serious bodily injury or death, or any second offense for driving while impaired, even

11                 if there is no injury to any person or property;

12        •        any felony conviction under federal, state, or local law;

13        •        any conviction under several newly defined categories of misdemeanor offenses, includ-

14                 ing any controlled substance-related offense except for a first-time marijuana simple pos-

15                 session offense, any offense involving possession or use of a false identification docu-

16                 ment, and any offense involving the receipt of public benefits without lawful authority;

17        •        any conviction for an offense involving domestic violence; and

18        •        any accusation of battery or extreme cruelty involving a domestic relationship, even if

19                 it does not result in a conviction.

20            4.        The Rule asserts that these new categorical bars are proper exercises of the Attorney

21   General’s power to “establish additional limitations and conditions, consistent with this section, under

22   which an alien shall be ineligible for asylum.” 8 U.S.C. § 1158(b)(2)(C) (emphasis added). But the

23   Rule’s new bars are not “consistent with” the statutory eligibility scheme, which is narrowly drawn to

24   exclude people “who pose a threat to society.” E. Bay Sanctuary Covenant v. Barr, 964 F.3d 832, 846

25   (9th Cir. 2020). The Rule sweeps in everything from a second misdemeanor conviction for marijuana

26   possession, to a misdemeanor conviction for using a fake ID to enter a bar, to unlawfully exporting

27   fish—a federal felony. The Rule’s bars thus bear no resemblance to those Congress wrote into the

28   statute, which in turn reflect our international treaty obligations. The Rule also ignores Congress’s

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 1   careful drafting, for example by treating every illegal reentry conviction under § 1326 as a categorical

 2   bar, even though Congress specified that such a conviction bars asylum eligibility only when “com-

 3   mitted by an alien who was previously deported” based on an aggravated-felony conviction. 8 U.S.C.

 4   § 1101(a)(43)(O). The Rule’s categorical bars thus exceed Defendants’ authority and conflict with

 5   the governing statute.

 6          5.      Second, the Rule adopts a novel presumption: a criminal conviction still triggers asy-

 7   lum ineligibility even if vacated, expunged, or modified—and even if the vacatur or modification was

 8   to correct constitutional or substantive defects—so long as (i) the vacatur or modification order was

 9   entered after removal proceedings began, or (ii) the applicant moved for the order more than a year

10   after conviction or sentencing. 85 Fed. Reg. at 67259–60 (to be codified at 8 C.F.R. §§ 208.13(c)(7)–

11   (8), 1208.13(c)(7)–(8)). The asylum-seeker must try to rebut this presumption by showing that any

12   modification was not made (i) for rehabilitative reasons or (ii) “for purposes of ameliorating the im-

13   migration consequences.” Id. But Congress nowhere authorized Defendants to disregard state court

14   orders curing constitutional errors based purely on their assumptions about judges’ subjective reasons

15   for ruling. This aspect of the Rule thus clashes with the text of the INA and with basic federalism

16   principles.

17          6.      Third, the Rule violates the Administrative Procedure Act (“APA”) in at least three

18   respects. First, the Rule departs dramatically from decades of consistent agency precedent without

19   adequate explanation. For example, the Rule discards the agency’s longstanding practice of treating

20   criminal convictions (or conduct) beyond the statutory eligibility bars as merely part of “the totality

21   of the circumstances” that “should be examined in determining whether a favorable exercise of dis-

22   cretion is warranted,” and not a basis “to deny relief in [ ] all cases.” Matter of Pula, 19 I. & N. Dec.

23   467, 473 (BIA 1987). Yet the Rule fails to explain why the agencies’ good reasons for that approach

24   no longer hold true. This unexplained departure is a textbook example of arbitrary and capricious

25   rulemaking. Second, in issuing the Rule, Defendants entirely failed to consider important aspects of

26   the problem, repeatedly dismissing comments and data about the Rule’s harmful effects as “outside

27   the scope of [the] rulemaking.” See, e.g., 85 Fed. Reg. at 67226. Third, Defendants did not provide

28   sufficient opportunity for public comment. They provided just 30 days, spanning the 2019 end-of-

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 1   year holidays, to comment on this major overhaul of the asylum system. That is not long enough for

 2   the public to digest and comment on a sweeping proposal with such significant impacts. The Rule

 3   was also part of an improperly staggered rulemaking process, which prevented the public from seeing

 4   and commenting on the whole picture at once.

 5          7.      Fourth, the Rule is procedurally invalid for another three reasons. First, Defendant

 6   Chad Wolf—who purported to issue the proposed and final Rule in conjunction with Defendant Wil-

 7   liam Barr—unlawfully assumed the role of Acting Secretary of Homeland Security in violation of the

 8   Appointments Clause of the U.S. Constitution, the Homeland Security Act of 2002 (“HSA”), and the

 9   Federal Vacancies Reform Act of 1998 (“FVRA”). Wolf thus lacked the authority to propose or issue

10   the Rule. Second, the Rule violates the Regulatory Flexibility Act (“RFA”), which requires federal

11   agencies to analyze the effects of their rules on “small entities.” 5 U.S.C. §§ 603–604. Here, the

12   Department of Homeland Security (“DHS”) and the Department of Justice (“DOJ”) failed to do so,

13   stating only that the Rule “will not have a significant economic impact on a substantial number of

14   small entities” because “[o]nly individuals, rather than entities, are eligible to apply for asylum.” 85

15   Fed. Reg. at 67255. This conclusory statement entirely fails to acknowledge the impact the Rule will

16   have on immigration legal services providers like Plaintiffs. Third, the Rule fails to comply with the

17   federalism certification requirement set forth in Executive Order 13132, notwithstanding the signifi-

18   cant federalism concerns the Rule raises. See 64 Fed. Reg. 43255 §1(a) (Aug. 4, 1999).

19          8.      Fifth, the Rule is unconstitutionally vague, in violation of the Due Process Clause, be-

20   cause it fails to “give ordinary people fair warning about what the law demands of them.” United

21   States v. Davis, 139 S. Ct. 2319, 2323 (2019). For example, the Rule bars asylum based on a convic-

22   tion of any offense the adjudicator “has reason to believe” was committed “in support, promotion, or

23   furtherance” of the activity of a criminal street gang. 85 Fed. Reg. at 67258–59 (to be codified at 8

24   C.F.R. §§ 208.13(c)(6)(ii), 1208.13(c)(6)(ii)). The Rule does not describe what behaviors, associa-

25   tions, or statuses might meet this standard. Nor does it provide any guidance on the types of offenses

26   or circumstances that may trigger such an inquiry, or the sorts of evidence that might be considered.

27   These vague standards fail to provide fair notice and invite arbitrary and discriminatory enforcement.

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 1          9.       Sixth, the Rule violates the equal protection component of the Fifth Amendment be-

 2   cause it was motivated by discriminatory animus toward certain racial and ethnic groups and people

 3   of certain national origins. The discriminatory intent underlying this Rule is evinced by two primary

 4   factors. First, the Rule will disproportionately harm non-white immigrants relative to their counter-

 5   parts from predominantly white countries—a concern that Defendants acknowledged, but did not seek

 6   to mitigate or resolve, in issuing the Rule. Second, the Rule was promulgated in the context of years

 7   of repeated, racist statements by members of the Trump Administration casting non-white immigrants

 8   as dangerous criminals, including statements made in the days and weeks immediately surrounding

 9   the publication of the proposed Rule in December 2019 and the final Rule in October 2020.

10          10.      In short, the Rule is inconsistent with the INA; is arbitrary, capricious, and procedurally

11   invalid under the APA, the HSA, the FVRA, and the RFA; and violates (i) the Appointments Clause

12   and (ii) the Fifth Amendment’s Due Process Clause, including its equal protection component. It also

13   conflicts with the international law obligations that Congress directly incorporated into U.S. law and

14   on which our asylum system is founded. The Rule thus threatens to send bona fide asylum-seekers to

15   countries where they will likely face violence, torture, and even death. The Court should hold the

16   Rule unlawful, set it aside, and enjoin its enforcement.

17                                      JURISDICTION AND VENUE

18          11.      The Court has subject matter jurisdiction under 28 U.S.C. § 1331 because Plaintiffs’

19   claims arise under the Constitution and federal statutes, including the INA, 8 U.S.C. § 1101 et seq.,

20   and the APA, 5 U.S.C. § 551 et seq. This Court also has subject matter jurisdiction under 5 U.S.C. §

21   702. Additionally, the Court has remedial authority under the Declaratory Judgment Act, 28 U.S.C.

22   §§ 2201–2202.

23          12.     Defendants’ promulgation of the final Rule in the Federal Register on October 21, 2020

24   constitutes final agency action and is therefore subject to judicial review. 5 U.S.C. §§ 704, 706.

25          13.     Plaintiffs have standing to challenge the Rule under 5 U.S.C. § 702 because they have

26   been and will be injured by the Rule’s operation. Plaintiffs are also within the zone of interest of the

27   INA, which establishes asylum eligibility requirements. See, e.g., E. Bay Sanctuary Covenant v.

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 1   Trump, 950 F.3d 1242, 1270 (9th Cir. 2020); La Clinica de la Raza v. Trump, No. 19-cv-04980-PJH,

 2   2020 WL 4569462, at *9–11 (N.D. Cal. Aug. 7, 2020).

 3           14.    Venue is proper in this District because Defendants are officers or employees of the

 4   United States or agencies thereof acting in their official capacity or under color of legal authority, or

 5   are federal agencies of the United States. 28 U.S.C. § 1391(e)(1). Venue is also proper because both

 6   Pangea Legal Services and DSCS have their principal place of business in San Francisco, California.

 7   Consequently, both reside in this judicial district under 28 U.S.C. § 1391(c)(2).

 8                                                 PARTIES

 9           15.    Plaintiff Pangea Legal Services (“Pangea”) is a non-profit organization based in Cali-

10   fornia’s Bay Area with offices in San Francisco and San Jose. Pangea’s mission is to stand with

11   immigrant communities and to provide services through direct legal representation. Pangea serves the

12   immigrant community in the Bay Area by providing direct legal services, including filing both affirm-

13   ative and defensive asylum applications, engaging in policy advocacy, and providing educational pro-

14   grams aimed at legal empowerment. The publication and impending effective date of the Rule has

15   required Pangea to divert resources from its core activities to address the impact of the Rule on the

16   communities it serves.

17           16.    Plaintiff DSCS is a non-profit organization based in San Francisco, California, that

18   provides a variety of services to low-income and immigrant communities in San Francisco, including

19   through its Deportation Defense & Legal Advocacy Program. DSCS’s mission is to cultivate collec-

20   tive power among low-income and migrant communities to create a more just society. DSCS serves

21   San Francisco’s immigrant community in part by providing direct legal services—including filing both

22   affirmative and defensive asylum applications—and by partnering with other organizations to carry

23   out local and national advocacy. The publication and impending effective date of the Rule has required

24   DSCS to divert resources from its core activities to address the impact of the Rule on the communities

25   it serves.

26           17.    Plaintiff Catholic Legal Immigration Network, Inc. (“CLINIC”) promotes the dignity

27   and protects the rights of immigrants in partnership with its network organizations. CLINIC imple-

28   ments its mission by providing substantive legal and program management training and support for

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 1   organizations within its network, including organizations engaged in completing affirmative and de-

 2   fensive applications for asylum; providing direct representation and legal orientation to asylum-seek-

 3   ers; and engaging in advocacy and providing advocacy support to network organizations at state, local,

 4   and national levels. CLINIC is the largest charitable legal immigration network in the United States,

 5   with almost 400 nonprofit organizations spanning 48 states, including the state of California. Many

 6   of its affiliates appear on the List of Pro Bono Legal Service Providers maintained by the Executive

 7   Office for Immigration Review (“EOIR”) as required by 8 C.F.R. § 1003.61. CLINIC maintains an

 8   office with three staff members in Oakland, California, and has staff in a dozen states around the

 9   country. The publication and impending effective date of the Rule has required CLINIC to divert

10   resources from its core activities to address the impact of the Rule on the communities it serves.

11          18.       Plaintiff Capital Area Immigrants’ Rights Coalition (“CAIR Coalition”) is a non-profit

12   organization serving the Washington, D.C. region. It appears on the List of Pro Bono Legal Service

13   Providers maintained by the EOIR as required by 8 C.F.R. § 1003.61. CAIR Coalition’s mission is to

14   ensure equal justice for all immigrant adults and children at risk of detention and deportation in the

15   Washington, D.C. region and beyond. CAIR Coalition implements its mission by providing direct

16   legal representation to children and adults in immigration proceedings, including representing unac-

17   companied alien children (“UACs”) in interviews before the Asylum Office; conducting educational

18   programming, including know your rights presentations and training of attorneys to defend immi-

19   grants; and engaging in impact litigation and advocacy on key policy issues. The publication and

20   impending effective date of the Rule has required CAIR Coalition to divert resources from its core

21   activities to address the impact of the Rule on the communities it serves.

22          19.       Defendant DHS is a cabinet-level department that enforces the immigration laws of the

23   United States.

24          20.       Defendant Chad F. Wolf is purportedly the Acting Secretary of DHS. He is being sued

25   in his official capacity. In this capacity, he directs each of the component agencies within DHS, in-

26   cluding United States Immigration and Customs Enforcement (“ICE”), United States Citizenship and

27   Immigration Services (“USCIS”), and United States Customs and Border Protection (“CBP”). The

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 1   Secretary of DHS is responsible for the administration and enforcement of immigration laws under 8

 2   U.S.C. § 1103(a).

 3          21.     Defendant Kenneth T. Cuccinelli is the Senior Official Performing the Duties of the

 4   Deputy Secretary for DHS. He is being sued in his official capacity.

 5          22.     Defendant USCIS is the agency within DHS responsible for adjudicating affirmatively

 6   filed asylum applications and conducting credible and reasonable fear interviews.

 7          23.     Defendant ICE is the agency within DHS responsible for carrying out removal orders

 8   and overseeing immigration enforcement and detention.

 9          24.     Defendant Tony H. Pham is the Senior Official Performing the Duties of the Director

10   of ICE. He is being sued in his official capacity.

11          25.     Defendant CBP is the agency within DHS responsible for the initial processing and

12   detention of noncitizens who are apprehended at or near the border and placed in expedited removal

13   or reinstatement of removal proceedings.

14          26.     Defendant Mark A. Morgan is the Senior Official Performing the Duties of the Com-

15   missioner of CBP. He is being sued in his official capacity.

16          27.     Defendant DOJ is a cabinet-level department of the federal government.

17          28.     Defendant William P. Barr is the U.S. Attorney General. He is being sued in his official

18   capacity. Under 8 U.S.C. § 1103(g), the Attorney General is responsible for the administration of

19   immigration law.

20          29.     Defendant EOIR is a sub-agency of DOJ responsible for adjudicating administrative

21   claims concerning federal immigration laws, including asylum applications filed in immigration court.

22          30.     Defendant James McHenry is the Director of EOIR. He is being sued in his official

23   capacity.

24                                      GENERAL ALLEGATIONS

25     I.    Background on the INA

26          31.     Federal law affords several humanitarian protections for non-citizens who fear perse-

27   cution and violence in their home countries. Congress incorporated international humanitarian prin-

28   ciples into U.S. law through the INA, which ensures that asylum and related protections are accessible

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 1   to asylum-seekers who fear returning to their home country because of the persecution, torture, or

 2   other harm they would endure.

 3          32.      The U.S. asylum system was founded on its international obligations under the 1951

 4   Convention Relating to the Status of Refugees (“Refugee Convention”) and the 1967 United Nations

 5   Protocol Relating to the Status of Refugees (“1967 Protocol”). Opened for signature in 1951, the

 6   Refugee Convention was designed to avoid the horrors experienced by refugees during World War II.

 7   The 1967 Protocol, which the United States ratified in 1968, expanded the Convention’s protections,

 8   allowing them to be applied universally.

 9          33.      Congress incorporated the 1967 Protocol into U.S. law with the Refugee Act of 1980,

10   Pub. L. No. 96-212, 94 Stat. 102. The Refugee Act amended the INA to include a formal process for

11   people fearing persecution in their home country to apply for asylum. Id. § 101(a) (codified at 8 U.S.C.

12   § 1521 Note).

13          34.      The Refugee Act thus codified the United States’ longstanding tradition of “welcoming

14   the oppressed of other nations.” H.R. Rep. No. 96-781, at 17–18 (1980) (Conf. Rep.). Congress

15   deliberately sought to bring the United States into compliance with its international obligations under

16   the 1967 Protocol and the Refugee Convention. See H.R. Rep. No. 96-608, at 17 (1979) (noting that

17   proposed asylum and withholding provisions were designed to “conform[] United States statutory law

18   to our obligations under Article 33 [of the Refugee Convention]”); S. Rep. No. 96-256, at 4 (1979)

19   (same). “Congress imbued these international commitments with the force of law when it enacted the

20   Refugee Act . . .” R-S-C- v. Sessions, 869 F.3d 1176, 1178 (10th Cir. 2017); see also INS v. Cardoza-

21   Fonseca, 480 U.S. 421, 436–37 (1987) (explaining that Congress enacted the Refugee Act of 1980 “to

22   bring United States refugee law into conformance with the [1967 Protocol]”).

23          35.      Today, asylum may be granted to a person who has suffered persecution or who has a

24   “well-founded fear of persecution” on account of one of five enumerated protected grounds: “race,

25   religion, nationality, membership in a particular social group, or political opinion.”        8 U.S.C.

26   § 1158(b)(1)(B); id. § 1101(a)(42)(A). Among other requirements, to be eligible for asylum, a person

27   must not fall within any mandatory bars to asylum. Specifically, they must not (i) have participated

28   in the persecution of others; (ii) have been convicted of a “particularly serious crime” that makes them

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 1   a danger to the United States; (iii) have committed a “serious nonpolitical crime outside the United

 2   States”; (iv) represent a danger to the security of the United States; (v) have engaged in “terrorist

 3   activity”; or (vi) have resettled in a third country prior to arriving in the United States. See id. §

 4   1158(b)(2)(A)(i)–(vi).

 5    II.    Criminal Bars to Asylum Eligibility under the INA

 6          36.     The INA specifies two crime-related bars to asylum eligibility: (i) the particularly se-

 7   rious crime (“PSC”) bar, and (ii) the serious nonpolitical crime bar. See id. § 1158(b)(2)(A)(ii) (PSC

 8   bar); id. § 1158(b)(2)(A)(iii) (serious nonpolitical crime bar). Both bars have specific definitions and

 9   scopes of application.

10          37.     Like most of the asylum provisions in the INA, the PSC bar closely mirrors the lan-

11   guage of the same bar in the Refugee Convention. The Refugee Convention’s bar was designed to be

12   narrow, so as not to preclude a bona fide refugee from protection unless they had been convicted of a

13   very serious criminal offense and thus posed a danger to the community. The INA PSC bar thus

14   requires a conviction for a “particularly serious crime” that renders the applicant “a danger to the

15   community of the United States.” Id. § 1158(b)(2)(A)(ii) (emphasis added).

16          38.     The United Nations High Commissioner for Refugees (UNHCR) has noted that, to be

17   considered a serious crime, an offense must generally be a “capital crime or a very grave punishable

18   act,” such as murder, arson, rape, or armed robbery. UNHCR, Handbook on Procedures and Criteria

19   for Determining Refugee Status under the 1951 Convention and the 1967 Protocol relating to the

20   Status of Refugees, U.N. Doc. HCR/4/IP/Eng/REV. ¶¶ 154–155 (1979, reissued 2019) (“UNHCR

21   Handbook”). The danger to the community must be both serious and posed by the asylum-seeker

22   themselves. Convention Relating to the Status of Refugees art. 33(2), Apr. 22, 1954, 189 U.N.T.S.

23   150.

24          39.     Under the Refugee Convention, adjudicators determining whether an offense is a PSC

25   must conduct an individualized analysis, considering the nature of the act, the actual harm inflicted,

26   how the offense is prosecuted, and whether most jurisdictions would consider the act a serious crime.

27   UNHCR, Criminal Justice and Immigration Bill: Briefing for the House of Commons at Second Read-

28   ing ¶ 10 (July 2007), http://www.unhcr.org/en-us/576d237f7.pdf. Adjudicators must also consider

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 1   mitigating or extenuating factors in their determinations. UNHCR, The Nationality, Immigration and

 2   Asylum Act 2002: UNHCR Comments on the Nationality, Immigration and Asylum Act 2002 (Speci-

 3   fication of Particularly Serious Crimes) Order 2004 4 (2004).

 4          40.     Adjudicators in the United States similarly apply a fact-specific analysis to determine

 5   whether an offense is a PSC under the INA (except for aggravated felonies, see 8 U.S.C.

 6   § 1158(b)(2)(B)(i)). This analysis considers, among other things, the nature of the offense, the crimi-

 7   nal sentence imposed, and whether the offense itself indicates that the person is likely to be a danger

 8   to the community. See Matter of Frentescu, 18 I. & N. Dec. 244, 247 (BIA 1982), superseded on

 9   other grounds by statute, Immigration Act of 1990, Pub. L. No. 101-649, 104 Stat. 4978, as recognized

10   in Matter of N-A-M-, 24 I. & N. Dec. 336, 339 (BIA 2007).

11          41.     Moreover, the INA PSC bar requires a “convict[ion] by a final judgment” of a PSC. 8

12   U.S.C. § 1158(b)(2)(A)(ii). Accusations of criminal activity, or reasonable suspicion of criminal ac-

13   tivity, do not trigger the PSC bar.

14          42.     The “serious nonpolitical crime” bar requires a showing that “there are serious reasons

15   for believing that the alien has committed a serious nonpolitical crime outside the United States prior

16   to the arrival of the alien in the United States.” Id. § 1158(b)(2)(A)(iii). This provision also corre-

17   sponds to an exclusion clause in the 1951 Refugee Convention: Article 1F(b) provides that the Con-

18   vention does not apply to “any person with respect to whom there are serious reasons for considering

19   that . . . [h]e has committed a serious non-political crime outside the country of refuge prior to his

20   admission to that country as a refugee.” Convention Relating to the Status of Refugees art. 1F(b).

21          43.     This treaty provision serves a dual purpose: (i) “to protect the community of a receiving

22   country from the danger of admitting a refugee who has committed a serious common crime,” and (ii)

23   “to render due justice to a refugee who has committed a common crime (or crimes) of a less serious

24   nature or has committed a political offence.” UNHCR Handbook ¶ 151. Under the treaty, reconcili-

25   ation of these twin purposes demands an individualized analysis that accounts for all factors relating

26   to “the nature of the offence presumed to have been committed”—including all aggravating or miti-

27   gating circumstances—balanced against “the degree of persecution feared,” such that “[i]f a person

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 1   has well-founded fear of very severe persecution . . . a crime must be very grave in order to exclude

 2   him.” Id. ¶¶ 155–157.

 3           44.    Adjudicators in the United States similarly apply an individualized, fact-specific anal-

 4   ysis in determining whether an offense qualifies as a serious nonpolitical crime. That analysis requires

 5   judges to assess in each case whether the “political aspect of his offense may not fairly be said to

 6   predominate over its criminal character.” INS v. Aguirre-Aguirre, 526 U.S. 415, 429–30 (1999); see

 7   also McMullen v. INS, 788 F.2d 591, 596 (9th Cir. 1986) (noting that “a balancing approach including

 8   consideration of the offense’s ‘proportionality’ to its objective and its degree of atrocity makes good

 9   sense”), overruled on other grounds by Barapind v. Enomoto, 400 F.3d 744 (9th Cir. 2000).

10    III.   The Rule

11           A.     The Rulemaking Process

12           45.    Defendants DOJ and DHS jointly published the proposed Rule in the Federal Register

13   on December 19, 2019. See Procedures for Asylum and Bars to Asylum Eligibility, 84 Fed. Reg.

14   69640 (Dec. 19, 2019). The Rule proposed parallel amendments to the immigration regulations ad-

15   ministered by DHS (8 C.F.R. pt. 208) and those administered by EOIR, a sub-agency of DOJ (8 C.F.R.

16   pt. 1208). Defendants’ stated purposes in issuing the proposed Rule were to (i) amend regulations

17   governing the bars to asylum eligibility; (ii) clarify the effect of criminal convictions; and (iii) remove

18   regulations governing the automatic reconsideration of discretionary denials of asylum. Id. at 69640.

19           46.    Although the RFA requires federal agencies to analyze the effects of their rules on

20   “small entities,” the proposed Rule disposed of this requirement by stating that “[the] rule will not

21   have a significant economic impact on a substantial number of small entities” because “[o]nly indi-

22   viduals, rather than entities, are eligible to apply for asylum.” Id. at 69657.

23           47.    Defendants gave the public just 30 days to comment on the proposed Rule, ending

24   January 21, 2020. This already-brief period included multiple federal and religious holidays, including

25   Hanukkah, Christmas Eve, Christmas Day, New Year’s Day, and the Birthday of Martin Luther King,

26   Jr., leaving just 15 business days for comment. Even so, Defendants ignored requests to extend the

27   comment period.

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 1           48.     On October 21, 2020, the final Rule was published in the Federal Register. See Proce-

 2   dures for Asylum and Bars to Asylum Eligibility, 85 Fed. Reg. 67202 (Oct. 21, 2020). Despite 581

 3   comments on the proposed Rule, most of which opposed it—including 78 comments from organiza-

 4   tions such as legal advocacy groups, non-profit organizations, and religious organizations, all of which

 5   opposed it—the final Rule is nearly identical to the proposed text published ten months earlier.

 6           49.     The proposed Rule cited two purported sources of authority for the new bars to asylum

 7   eligibility: 8 U.S.C. § 1158(b)(2)(B)(ii), which allows the Attorney General to “designate by regula-

 8   tion offenses that will be considered” particularly serious crimes that trigger the PSC bar, and

 9   § 1158(b)(2)(C), which allows the Attorney General to “establish additional limitations and condi-

10   tions, consistent with this section, under which an alien shall be ineligible for asylum.” The final Rule

11   reflects that commenters raised numerous concerns about the invocation of the PSC bar:

12           In general, commenters alleged that the [notice of proposed rulemaking] was unteth-
             ered to the approach set out by Congress regarding particularly serious crimes and that
13           if Congress had sought to sweepingly bar individuals from asylum eligibility based on
             their conduct or felony convictions, as outlined in the [notice of proposed rulemaking],
14           it would have done so in the Act. Commenters stated that adding seven new categories
             of barred conduct rendered the language of section 208(b)(2) of the Act (8 U.S.C.
15           1158(b)(2)) essentially meaningless and drained the term “particularly serious crime”
             of any sensible meaning because the Departments were effectively considering all of-
16           fenses, regardless of seriousness, as falling under the particularly serious crime bar to
             asylum.
17
     85 Fed. Reg. at 67206. Rather than revising the scope of the Rule to address these concerns, Defend-
18
     ants simply disclaimed reliance on the Attorney General’s power to designate PSCs in the final Rule.
19
     Although the final Rule repeatedly draws analogies to the PSC bar, stating that the new bars are “sim-
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     ilar to” PSCs, Defendants dismissed commenters’ concerns by stating that the rule “does not designate
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     any offenses . . . as specific particularly serious crimes,” rather, it “sets out seven new ‘additional
22
     limitations’ . . . on asylum eligibility.” Id. at 67207.
23
             50.     On many other issues raised by commenters—including issues that go to the heart of
24
     the Rule—Defendants failed to provide a meaningful response, stating that various comments and
25
     concerns were “beyond the scope of” the rulemaking. Supposedly “outside the scope” were comments
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     and data showing the Rule “will exacerbate harms caused by racially disparate policing practices or
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     that the result of this rule will disproportionately affect people of color,” id. at 67226, “barriers” that
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 1   prevent domestic violence victims from seeking waivers that would prevent the Rule’s bars from ap-

 2   plying to them, id. at 67230, “how the rule might affect working conditions of aliens,” id. at 67233,

 3   “issues involving evidence gathering” under the Rule’s vacatur presumption, id. at 67239, “humani-

 4   tarian concerns for asylum seekers,” id. at 67243, “treatment, support, and services for children who

 5   have experienced trauma,” id. at 67244, the “complex ‘web’ of asylum laws and regulations,” id.,

 6   “dangerous conditions in Mexico, the effects of the [‘migrant protection protocol’], and the third-

 7   country transit bar,” id. at 67245, “access to healthcare, food, and housing,” id. at 67246, “increased

 8   likelihood of convictions for minor offenses for certain vulnerable groups,” id. at 67247, and “repre-

 9   sentation in immigration proceedings or during asylum adjudications,” id. at 67249. On most of these

10   points, Defendants just “reiterate[d] their statutory authority to limit and condition asylum eligibility.”

11   Id. at 67239.

12          51.      Moreover, like the proposed Rule, the final Rule did not analyze the effects of the Rule

13   on “small entities” as required by the RFA. Rather, the final Rule concluded without analysis that

14   “[the] rule will not have a significant economic impact on a substantial number of small entities”

15   because “[o]nly individuals, rather than entities, are eligible to apply for asylum.” Id. at 67255.

16          52.      The Rule is currently scheduled to take effect on November 20, 2020.

17          B.       Additional Categorical Bars to Asylum Eligibility

18          53.      Although the Attorney General may impose additional “limitations and conditions” on

19   asylum eligibility, those limitations must be “consistent with” the INA’s asylum provisions. See 8

20   U.S.C. § 1158(b)(2)(C). None of the Rule’s new asylum eligibility bars pass this test.

21          54.      The Rule purports to establish several new categorical bars to asylum eligibility, re-

22   gardless of the circumstances of the crime, the punishment imposed, or whether the offense indicates

23   dangerousness to the community—in direct contravention of Congress’s intent in establishing asylum

24   protection. While the Rule asserts similarities between these new bars and the PSC bar, see 85 Fed.

25   Reg. at 67216 & n. 16, the new bars are not tailored to address the touchstone of the statutory eligibility

26   bars, including the PSC bar: dangerousness to the community or the nation. The Rule thus attempts

27   to add new criminal bars that ignore the boundaries Congress articulated in the statute.

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 1             55.    The Rule radically expands the list of offenses triggering a categorical bar to asylum

 2   eligibility to include:

 3         •    any conviction for bringing in or harboring certain aliens under 8 U.S.C. § 1324(a);

 4         •    any conviction for illegal reentry under 8 U.S.C. § 1326;

 5         •    any conviction for an offense the asylum officer knows or has some unspecified “reason

 6              to believe was committed in support, promotion, or furtherance of the activity of a crim-

 7              inal street gang”;

 8         •    any conviction for an offense involving driving while intoxicated or impaired that results

 9              in serious bodily injury or death, or any second offense for driving while impaired, even

10              if no injury results;

11         •    any felony conviction under federal, state, or local law;

12         •    any conviction under several newly defined categories of misdemeanor offenses, includ-

13              ing any controlled substance-related offense except for a first-time marijuana possession

14              offense, any offense involving possession or use of a false identification document, or

15              any offense involving the receipt of public benefits without lawful authority;

16         •    any conviction for an offense involving domestic violence; and

17         •    any accusation of battery or extreme cruelty involving a domestic relationship, even if it

18              does not result in a conviction.

19             56.    These new bars are inconsistent with the INA’s asylum provisions because they (i)

20   involve offenses (or alleged conduct) far less serious, and less dangerous, than Congress deemed nec-

21   essary to deny asylum eligibility; (ii) allow people to be barred from asylum eligibility based on mere

22   accusation or suspicion of misconduct; and (iii) seek to impose categorical eligibility bars, with no

23   individualized analysis (for example, to determine whether the asylum-seeker constitutes a danger to

24   the community).

25             57.    Nor can this inconsistency be remedied by vague references to the Attorney General’s

26   authority to “designate by regulation offenses that will be considered” PSCs.                 8 U.S.C.

27   § 1158(b)(2)(B)(ii). The PSC bar applies only where the person (i) is “convicted by final judgment”

28   (ii) of a “particularly serious crime” and (iii) “constitutes a danger to the community of the United

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 1   States.” 8 U.S.C. § 1158(b)(2)(A)(ii). The Rule’s categorical bars involve crimes that are not serious,

 2   let alone particularly serious; they are largely unrelated to whether the asylum-seeker poses a danger

 3   to the community; and some of them apply even absent a conviction.

 4          58.     Some of these new categorical bars also fail to provide fair notice of what convic-

 5   tions—or what suspicions, based on which materials—will trigger them. For example, the Rule says

 6   that an asylum-seeker is barred if they are convicted of any crime the adjudicator “knows or has reason

 7   to believe” was committed in “support, promotion, or furtherance” of the activity of a criminal street

 8   gang. The Rule does not explain these nebulous standards or otherwise cabin adjudicators’ discretion

 9   in a way that would provide fair notice to asylum-seekers or stave off discriminatory or arbitrary en-

10   forcement.
           C.       Change in the Effect of Vacated, Modified, and Expunged Criminal
11                  Convictions
12          59.     The Rule presumes that criminal convictions remain effective (and thus trigger the asy-
13   lum bars) despite any vacatur, expungement, or modification, if (i) the vacatur or modification order
14   was entered after removal proceedings began or (ii) the applicant moved for the order more than a year
15   after conviction or sentencing, even if the modification was made to correct constitutional or legal
16   defects. 85 Fed. Reg. at 67259–60 (to be codified at 8 C.F.R. §§ 208.13(c)(7)–(8), 1208.13(c)(7)–(8)).
17   The Rule places the burden on the asylum-seeker to establish that any modification to their underlying
18   criminal conviction or sentence was not made for rehabilitative purposes or “for purposes of amelio-
19   rating the immigration consequences of the [underlying] conviction or sentence.” Id. Moreover, the
20   Rule empowers immigration adjudicators to consider evidence beyond the face of the court order itself
21   to determine the ruling state judge’s “purposes.” Id. at 67259–60 (to be codified at 8 C.F.R. §§
22   208.13(c)(9), 1208.13(c)(9)).
23          60.     This portion of the Rule does not reflect a permissible interpretation of the INA. Treat-
24   ing as valid a conviction vacated to correct a constitutional error is “so foreign, so antithetical, to the
25   long-standing principles underlying our criminal justice system and our notions of due process that we
26   would expect Congress to have spoken very clearly if it intended to effect such results.” Alim v.
27   Gonzales, 446 F.3d 1239, 1249 (11th Cir. 2006). Yet Congress nowhere authorized defendants to do
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 1   so. Nor does the INA contain the clear statement that courts require before they allow federal agencies

 2   to upset the federal–state balance. Indeed, this novel regime may violate the Full Faith and Credit Act,

 3   28 U.S.C. § 1738, and the underlying constitutional guarantees thereof, U.S. Const. art. IV, § 1.

 4             D.    Elimination of Automatic Review of Discretionary Denials of Asylum

 5             61.   Finally, the Rule eliminates 8 C.F.R. §§ 208.16(e) and 1208.16(e), which provide for

 6   automatic review of a discretionary denial of asylum where an asylum-seeker is denied asylum but

 7   granted withholding of removal under 8 U.S.C. § 1231(b)(3), and the refugee is thereby precluded

 8   from reuniting with their spouse and/or children and from obtaining permanent residence or citizen-

 9   ship.

10             62.   If asylum is granted to an applicant, they may petition to have their spouse and/or minor

11   children admitted as derivative asylees. 8 U.S.C. § 1158(b)(3). Recipients of withholding of removal

12   are not able to do the same. Id.; see also id. § 1231. As a result of the Rule, an asylum applicant who

13   is denied asylum solely in the exercise of discretion, but who is then granted withholding of removal,

14   will not receive automatic review of that decision, even if it results in the inability to petition for their

15   spouse and/or minor children.

16             63.   Defendants have failed to offer any satisfactory justification for this fundamental

17   change in policy. The Rule relies primarily on unsubstantiated assertions that §§ 208.16(e) and

18   1208.16(e) are “inefficient, unclear, and unnecessary,” 85 Fed. Reg. 67251; however, instead of add-

19   ing detail or clarifying language to resolve any such confusion, Defendants have eliminated these

20   regulatory provisions entirely. In so doing, Defendants have not articulated any explanation for the

21   provisions’ alleged inefficiency. Nor have they articulated a basis for depriving applicants who are

22   not granted asylum solely in the exercise of discretion but who later win withholding of removal the

23   opportunity to achieve family unity. Family unity has been a cornerstone of U.S. immigration policy

24   for decades, and this change would prevent spouses and children from finding safety in the United

25   States.

26    IV.      Defendant Chad Wolf Lacked Authority to Propose or Issue the Rule

27             64.   The Rule was jointly issued by DHS and DOJ and sets forth parallel provisions to

28   amend 8 C.F.R. pt. 208, which operationalizes immigration laws administered by DHS (including

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 1   those that govern affirmative asylum applications), and 8 C.F.R. pt. 1208, which operationalizes im-

 2   migration laws administered by the EOIR, a sub-agency of DOJ.

 3          65.     Insofar as the Rule relies on authority from DHS—including to implement amend-

 4   ments to 8 C.F.R. pt. 208—the Rule was not validly issued because Defendant Chad Wolf lacked

 5   authority under the Appointments Clause of the U.S. Constitution, the HSA, and/or the FVRA to pro-

 6   pose or issue the Rule.

 7          66.     On August 14, 2020, the U.S. Government Accountability Office (“GAO”) issued a

 8   decision stating that the “incorrect official assumed the title of Acting Secretary” when former DHS

 9   Secretary Kirstjen Nielsen resigned in April 2019 and that “subsequent amendments to the order of

10   succession made by [Kevin McAleenan] were invalid and officials who assumed their positions under

11   such amendments, including Chad Wolf and Kenneth Cuccinelli, were named by reference to an in-

12   valid order of succession.” GAO, Decision in the Matter of Department of Homeland Security—Le-

13   gality of Service of Acting Secretary of Homeland Security and Service of Senior Official Performing

14   the Duties of Deputy Secretary of Homeland Security 1 (Aug. 14, 2020), https://www.gao.gov/as-

15   sets/710/708830.pdf (“GAO Decision”).

16          67.     While the GAO decision focused primarily on the validity of Wolf’s appointment pur-

17   suant to the HSA, Wolf’s claim to the role of Acting Secretary fares no better under the FVRA. The

18   FVRA states that a person serving as an acting officer may serve in the office “for no longer than 210

19   days beginning on the date the vacancy occurs,” except under narrow circumstances. 5 U.S.C. §

20   3346(a)(1) (emphasis added).

21          68.     The relevant vacancy occurred, at the latest, by April 10, 2019, the purported effective

22   date of former DHS Secretary Kirstjen Nielsen’s resignation.

23          69.     Kevin McAleenan resigned, and Wolf purported to assume the role of Acting Secretary

24   of DHS, on November 13, 2019—217 days after April 10, 2019, and thus beyond the 210-day period

25   set forth in the FVRA. Accordingly, Wolf’s assumption of the role of Acting Secretary was not lawful

26   pursuant to the FVRA.

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 1          70.     On December 19, 2019, DOJ and DHS jointly released the proposed Rule. See 84 Fed.

 2   Reg. 69640. Wolf signed the proposal, notwithstanding that—as the GAO Decision explained—he

 3   lacked the authority to do so.

 4          71.     On October 21, 2020, the Departments jointly released the final Rule. Defendant Wolf

 5   signed the final Rule under his purported authority as Acting Secretary of DHS. Specifically, Wolf,

 6   “having reviewed and approved” the Rule, “delegated the authority to electronically sign” the Rule to

 7   Chad R. Mizelle (the Senior Official Performing the Duties of the General Counsel for DHS).

 8          72.     Because Defendant Wolf is not validly serving as Acting Secretary of DHS, he could

 9   not lawfully exercise the authority of that office, including by proposing or issuing the Rule. To the

10   extent the Rule relies on authority from DHS, including to amend the procedures for asylum and with-

11   holding of removal set forth at 8 C.F.R. pt. 208, the Rule must be set aside.

12     V.    The Rule Is Motivated by Racial Animus

13          73.     Additionally, the Rule is motivated by racial, ethnic, and national origin-based animus.

14   As a threshold matter, the Rule reflects that DHS and DOJ received a number of comments expressing

15   concern about the ways in which it would disproportionately harm non-white immigrants. See, e.g.,

16   85 Fed. Reg. at 67223 (describing comments about the disparate racial impact that a bar based on

17   allegations that an offense was committed in “furtherance of criminal street gang activity” may have).

18   The Departments did not refute these comments, did not meaningfully engage with them, and did not

19   revise the Rule to address these concerns. Rather, the Rule includes only a hollow assertion that “[t]o

20   the extent that the rule disproportionally affects any group referenced by the commenters, any such

21   impact is beyond the scope of this rule, as this rule was not drafted with discriminatory intent toward

22   any group, and the provisions of the rule apply equally to all applicants for asylum.” Id. at 67226.

23   This statement is belied by countless racist, xenophobic comments made by members of the Trump

24   Administration and by the outsized impact that the Rule will have—and that DHS and DOJ were made

25   aware the Rule will have—on non-white immigrants.

26          74.     Statements by President Trump and others lay bare the Trump Administration’s dis-

27   criminatory motives against non-white, non-European immigrants, especially those accused or con-

28   victed of criminal conduct. The statements below are just a few examples; there are many more.

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 1            75.   President Trump launched his 2016 campaign by raising the specter of violence from

 2   supposedly criminal immigrants. When he announced his presidential bid, he infamously said: “When

 3   Mexico sends its people, they’re not sending their best. . . . They’re sending people that have lots of

 4   problems, and they’re bringing those problems with [sic] us. They’re bringing drugs. They’re bring-

 5   ing crime. They’re rapists. And some, I assume, are good people.” Donald Trump Announces a

 6   Presidential Bid, Wash. Post (June 16, 2015), https://www.washingtonpost.com/news/post-poli-

 7   tics/wp/2015/06/16/full-text-donald-trump-announces-a-presidential-bid/. Three days later, he re-

 8   peated a variation of the same statement on Twitter, writing, “Druggies, drug dealers, rapists and kill-

 9   ers are coming across the southern border. When will the U.S. get smart and stop this travesty?”

10   President Donald Trump (@realDonaldTrump), Twitter (June 19, 2015, 10:22 PM), https://twit-

11   ter.com/realdonaldtrump/status/612083064945180672.

12            76.   President Trump has continued to make similar remarks throughout his presidency. For

13   example, in 2018, reports circulated that a group of several thousand asylum-seekers were approaching

14   the U.S.-Mexico border seeking refuge. President Trump tweeted about the event repeatedly over the

15   next several weeks, writing:

16        •    “I am watching the Democrat Party led . . . assault on our country by Guatemala, Honduras

17             and El Salvador, whose leaders are doing little to stop this large flow of people, INCLUDING

18             MANY CRIMINALS, from entering Mexico to U.S.....” President Donald Trump (@real-

19             DonaldTrump), Twitter (Oct. 18, 2018, 7:25 AM), https://twitter.com/realdonaldtrump/sta-

20             tus/1052883467430694912.

21        •    “Sadly, it looks like Mexico’s Police and Military are unable to stop the Caravan heading to

22             the Southern Border of the United States. Criminals and unknown Middle Easterners are

23             mixed in. I have alerted Border Patrol and Military that this is a National Emergy [sic]. Must

24             change laws!” President Donald Trump (@realDonaldTrump), Twitter (Oct. 22, 2018, 8:37

25             AM), https://twitter.com/realdonaldtrump/status/1054351078328885248.

26        •    “There are a lot of CRIMINALS in the Caravan. We will stop them. Catch and Detain!

27             Judicial Activism, by people who know nothing about security and the safety of our citizens,

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 1            is putting our country in great danger. Not good!” President Donald Trump (@real-

 2            DonaldTrump), Twitter (Nov. 21, 2018, 4:42 PM), https://twitter.com/realdonaldtrump/sta-

 3            tus/1065359825654169600.

 4          77.     Around the same time, President Trump aired a midterm campaign ad that featured

 5   footage of an undocumented Mexican immigrant, Luis Bracamontes, bragging about his murder of

 6   two police officers in California. It juxtaposed footage of Bracamontes with images of the so-called

 7   “migrant caravan” moving toward the United States border—even though Bracamontes had nothing

 8   to do with the caravan—and stated: “Dangerous illegal criminals like cop-killer Luis Bracamontes

 9   don’t care about our laws.” Michael M. Grynbaum & Niraj Chokshi, Even Fox News Stops Running

10   Trump Caravan Ad Criticized as Racist, N.Y. Times (Nov. 5, 2018), https://www.ny-

11   times.com/2018/11/05/us/politics/nbc-caravan-advertisement.html.

12          78.     President Trump’s attempts to paint immigrants (particularly those from Central Amer-

13   ica) as gang members and dangerous people continued into the weeks surrounding the publication of

14   the proposed Rule in 2019. Less than two weeks before the proposed Rule was published in the Fed-

15   eral Register, President Trump posted a tweet reading in part, “Without the horror show that is the

16   Radical Left . . . the Border would be closed to the evil of Drugs, Gangs and all other problems!”

17   President Donald Trump (@realDonaldTrump), Twitter (Dec. 6, 2019, 11:00 AM), https://twit-

18   ter.com/realdonaldtrump/status/1202981139155210241. The day after the proposed Rule was pub-

19   lished, President Trump took to Twitter to share a link to an article about a number of purported gang-

20   related arrests in New York, writing, “We are getting MS-13 gang members, and many other people

21   that shouldn’t be here, out of our Country!” President Donald Trump (@realDonaldTrump), Twitter

22   (Dec. 20, 2019, 5:41 PM), https://twitter.com/realDonaldTrump/status/1208155412962447360.

23          79.     Similarly, during a presidential debate held on October 22, 2020—the day after the

24   final Rule was published—President Trump described noncitizen children separated from their parents

25   at the U.S. border as having been brought to the United States “through cartels and through coyotes

26   and through gangs.” ABC News, Biden and Trump Discuss Their Views on Immigration Policy,

27   YouTube (Oct. 22, 2020), https://www.youtube.com/watch?v=DZ9vIzVZjS4. In criticizing “catch

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 1   and release” (the practice of allowing asylum-seekers to await their immigration hearings in the com-

 2   munity rather than detaining them), President Trump further stated, “Catch and release is a disaster.

 3   A murderer would come in, a rapist would come in, a very bad person would come in . . . we [would]

 4   have to release them into our country.” Id. (emphasis added).

 5            80.       These comments are part of a broader pattern of racist and xenophobic remarks made

 6   by members of the Trump Administration. For example, in 2017, at the height of litigation surround-

 7   ing the Administration’s travel bans, President Trump tweeted, “That’s right, we need a TRAVEL

 8   BAN for certain DANGEROUS countries, not some politically correct term that won’t help us protect

 9   our people!” President Donald Trump (@realDonaldTrump), Twitter (June 5, 2017, 9:20 PM),

10   https://twitter.com/realdonaldtrump/status/871899511525961728. A few months later, he tweeted

11   again, “The travel ban into the United States should be far larger, tougher and more specific – but

12   stupidly, that would not be politically correct!” President Donald Trump (@realDonaldTrump), Twit-

13   ter (Sept. 15, 2017, 6:54 AM), https://twitter.com/realdonaldtrump/status/908645126146265090.

14            81.       Around January 2018, President Trump met with lawmakers to discuss protections for

15   immigrants from Haiti, El Salvador, and African countries. According to those present at the meeting,

16   the President asked, “Why are we having all these people from shithole countries come here?” Josh

17   Dawsey, Trump Derides Protections for Immigrants from ‘Shithole’ Countries, Wash. Post (Jan. 12,

18   2018),         https://www.washingtonpost.com/politics/trump-attacks-protections-for-immigrants-from-

19   shithole-countries-in-oval-office-meeting/2018/01/11/bfc0725c-f711-11e7-91af-

20   31ac729add94_story.html. He also suggested that the United States should allow more people from

21   countries like Norway instead. Alan Fram & Jonathan Lemire, Trump: Why Allow Immigrants from

22   ‘Shithole          Countries’?,      AP        News        (Jan.      12,       2018),        https://ap-

23   news.com/fdda2ff0b877416c8ae1c1a77a3cc425/Trump:-Why-allow-immigrants-from-'shithole-

24   countries'.

25            82.       Similarly, Defendant Kenneth Cuccinelli has made a number of troubling comments

26   about immigrants and their families. During a radio interview in 2012, Cuccinelli criticized Washing-

27   ton, D.C.’s pest control policy, stating that “it is worse than our immigration policy,” and noting, “You

28   can’t break up rat families. Or raccoons, and all the rest, and you can’t even kill ‘em.” Nick Wing,

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 1   Ken Cuccinelli Once Compared Immigration Policy to Pest Control, Exterminating Rats, Huffington

 2   Post      (July       26,      2013),     https://www.huffpost.com/entry/ken-cuccinelli-immigration-

 3   rats_n_3658064?guccounter=1.

 4          83.        More recently, in August 2019, Cuccinelli was asked whether he agreed that the words

 5   of Emma Lazarus appearing on the Statue of Liberty, “Give me your tired, your poor,” are part of the

 6   American ethos. Devan Cole & Caroline Kelly, Cuccinelli Rewrites Statue of Liberty Poem to Make

 7   Case for Limiting Immigration, CNN (Aug. 13, 2019), https://www.cnn.com/2019/08/13/politics/ken-

 8   cuccinelli-statue-of-liberty/index.html. He responded, “They certainly are: ‘Give me your tired and

 9   your poor who can stand on their own two feet and who will not become a public charge.’” Id. He

10   later noted that Lazarus’s poem “was referring back to people coming from Europe.” Id.

11          84.        The Trump Administration has repeatedly used racist rhetoric to cast non-white immi-

12   grants as dangerous and to curb their entry into the United States. These statements leave no doubt

13   about the racial, ethnic, and national origin-based animus driving the new Rule, which will dramati-

14   cally expand bars to asylum eligibility for people convicted—or simply accused—of various relatively

15   minor offenses. The Rule will cause significant harm to non-white immigrants.

16          85.        It is well documented that current law enforcement policies harm immigrants of color.

17   For example, as a result of racially biased policing practices, Black people are disproportionately likely

18   to be arrested, convicted, and imprisoned in the United States. See NYU Law Immigrant Rights Clinic,

19   The State of Black Immigrants Part II: Black Immigrants in the Mass Criminalization System at 15,

20   https://www.immigrationresearch.org/system/files/sobi-fullreport-jan22.pdf (last visited Nov. 1,

21   2020) (noting in part, “These disparities exist even when crime rates are the same; for example, alt-

22   hough Blacks and whites use marijuana at roughly equal rates, Black people are 3.7 times more likely

23   than whites to be arrested for marijuana possession.”).

24          86.        The harm caused by racial bias in policing is further compounded by the immigration

25   consequences that often accompany arrests and convictions. See, e.g., Elizabeth Aranda & Elizabeth

26   Vaquera, Racism, the Immigration Enforcement Regime, and the Implications for Racial Inequality in

27   the Lives of Undocumented Young Adults, Soc. of Race and Ethnicity 88 (2015) (“[W]ith the exception

28   of Salvadorans, Latino and black immigrants are disproportionately represented among those being

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 1   apprehended, detained, and deported from the country when compared with their shares of the undoc-

 2   umented population”); see also Refugee and Immigrant Ctr. for Educ. and Legal Servs., Black Immi-

 3   grant Lives Are Under Attack, https://www.raicestexas.org/2020/07/22/black-immigrant-lives-are-un-

 4   der-attack/ (last visited Nov. 1, 2020) (“While 7% of non-citizens in the U.S. are Black, they make up

 5   a full 20% of those facing deportation on criminal grounds[.]”).

 6           87.     The specific nature of several of the newly imposed bars to asylum eligibility is likely

 7   to augment these harms. For example, the use of convictions for bringing in or harboring certain aliens

 8   as a bar to asylum eligibility will be particularly harmful to people entering the country through the

 9   Southwest border of the United States. In fiscal year 2019, 3,487 convictions for “alien smuggling”

10   offenses were reported to the United States Sentencing Commission. See U.S. Sentencing Comm’n,

11   Quick Facts: Alien Smuggling Offenses (2019), https://www.ussc.gov/sites/default/files/pdf/research-

12   and-publications/quick-facts/Alien_Smuggling_FY19.pdf. A staggering 94% of those convictions

13   were brought in districts along the Southwest border. Id. Data from CBP reflects that in the same

14   year, nearly 88% of single adults apprehended at the Southwest border—i.e., the population of people

15   statistically most likely to be convicted for smuggling or harboring illegal aliens—came from the same

16   four countries: El Salvador, Guatemala, Honduras, and Mexico. See U.S. Customs and Border Prot.,

17   U.S. Border Patrol Southwest Border Apprehensions by Sector: Fiscal Year 2019 (Nov. 14, 2019),

18   https://www.cbp.gov/newsroom/stats/sw-border-migration/usbp-sw-border-apprehensions-fy2019.

19           88.     Similarly, barring asylum where a person is convicted of a crime that the adjudicator

20   knows or “has reason to believe” was committed in furtherance of gang activity—an extremely low

21   standard—will harm asylum-seekers from communities of color.2 See 85 Fed. Reg. at 67258–59 (to

22   be codified at 8 C.F.R. §§ 208.13(c)(6)(ii), 1208.13(c)(6)(ii)). For example, the Boston Regional In-

23   telligence Center (“BRIC”) maintains a “Gang Assessment Database” that tracks suspected gang

24   members.      See Bos. Police Dep’t, Rule 335 – Gang Assessment Database (Mar. 23, 2017),

25   2
       This harm will only be exacerbated by the Executive Order on Combating Race and Sex Stereotyping
     issued by President Trump on September 22, 2020. The Executive Order prohibits, in part, training
26   on implicit bias for certain federal employees, characterizing such training—perplexingly—as “pro-
     mot[ing] race or sex stereotyping or scapegoating.” As a result of the interplay between the Rule and
27   this Executive Order, adjudicators will now be empowered to make a subjective determination about
     whether an offense was committed in furtherance of gang activity without the benefit of any training
28   on the impacts of implicit bias on such determinations.

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 1   https://bpdnews.com/rules-and-procedures. People are added to the BRIC Gang Assessment Database

 2   based on a highly flawed point system, pursuant to which law enforcement officers assign people a

 3   “score” based on various purported markers for gang involvement. Id. at 2 (describing the “10 Point

 4   Verification System”). The point system allows law enforcement officers to assign points to a person

 5   even where there is no allegation that the person has engaged in criminal activity. For example, a

 6   person may receive points against them based on nicknames, attire, “drawings,” tattoos, or “[w]alking,

 7   eating, recreating, communicating, or otherwise associating with” a purported gang member—even if

 8   that person is a friend, neighbor, or family member. Id. at 3, 5–6. Data from the Boston Police De-

 9   partment reflects that 66% of the people tracked in the BRIC Gang Assessment Database are Black,

10   24% are Latino, and just 2% are white, notwithstanding that Black and Latino residents make up 25%

11   and 20% of the Boston population, respectively. Phillip Marcelo, Inside The Boston Police Gang

12   Database, WGBH (July 30, 2019), https://www.wgbh.org/news/local-news/2019/07/30/inside-the-

13   boston-police-gang-database.

14          89.     Moreover, available data suggest that empowering immigration adjudicators to deter-

15   mine whether there is “reason to believe” that a crime was gang-related is likely to result in harm to

16   people from communities of color, who are often labeled by police as gang-involved even when they

17   are not. Government audits of gang databases have routinely found significant error rates. See, e.g.,

18   Cal. State Auditor, The CalGang Criminal Intelligence System 2 (Aug. 2016), https://www.audi-

19   tor.ca.gov/pdfs/reports/2015-130.pdf (finding that 23% of the CalGang designations reviewed lacked

20   adequate support); City of Chi. Office of Inspector Gen., Review of the Chicago Police Department’s

21   “Gang Database” 2 (Apr. 2019), https://igchicago.org/wp-content/uploads/2019/04/OIG-CPD-Gang-

22   Database-Review.pdf (finding that over 15,000 people designated as gang members in Chicago’s gang

23   database “had no specific gang membership listed and no reason provided for why the individual was

24   listed as a gang member”).

25          90.     By way of additional example, in April 2016, officers in New York arrested 120 people

26   in the Bronx (the “Bronx 120”) in what was then-described as the “largest gang takedown in New

27   York City history.” Babe Howell & Priscilla Bustamante, CUNY Sch. Of Law, Report on the Bronx

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 1   120 Mass “Gang” Prosecution 4 (Apr. 2019), https://bronx120.report/. Notwithstanding this charac-

 2   terization, approximately half of those arrested were not ultimately alleged to be gang members in the

 3   indictment. Id. at 9. 88% of those arrested were Black, and not one was identified as white. Id. at 13.

 4   The outcome of the Bronx 120 incident is emblematic of both the impact that a bar to asylum eligibility

 5   based on purported gang activity will have on non-white immigrants and the unreliable nature of sub-

 6   jective determinations of whether conduct is gang-related.

 7          91.     The Rule does not articulate a standard to be applied in determining whether an offense

 8   was committed in furtherance of gang activity, nor even criteria for what should prompt such an in-

 9   quiry. Under the Rule, a conviction for something minor, like disorderly conduct, could lead to de-

10   portation of a young person to a country where they face persecution when paired with even minimal

11   evidence or a mere allegation of gang involvement. This outcome is manifestly unjust and exemplifies

12   the harm the Rule will cause asylum-seekers from low-income communities and communities of color.

13    VI.    The Rule’s Harm to Plaintiffs

14          92.     Plaintiffs are non-profit organizations that provide direct representation to, and advo-

15   cate on behalf of, immigrant communities, and provide training and educational programming to im-

16   migration practitioners and/or immigrant communities. The significant changes the Rule will im-

17   pose—including by creating several new categorical bars to asylum eligibility and eroding protections

18   set forth in the INA—will harm Plaintiffs in a number of ways.

19          A.      The Rule Frustrates Plaintiffs’ Missions

20          93.     Each of the Plaintiffs shares a mission to support and provide legal services to as many

21   low income and vulnerable noncitizens as possible, including to asylum-seekers. For example,

22   CLINIC operates the nation’s largest network of nonprofit legal immigration services programs as part

23   of its mission to embrace the Gospel value of welcoming the stranger by promoting the dignity and

24   protecting the rights of immigrants. The Rule frustrates Plaintiffs’ missions by establishing a number

25   of new barriers to asylum eligibility that will make it far more difficult for Plaintiffs to serve their

26   clients—many of whom the Rule will render ineligible for asylum.

27          94.     For CLINIC (and the nearly 400 affiliated immigration programs in its network), the

28   Rule will impede its core aims of “welcoming the stranger” and protecting the rights of immigrants by

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 1   categorically excluding many from asylum eligibility, leaving CLINIC and its affiliates without a

 2   means of securing a pathway to permanent residency for many of the people it serves.

 3           95.     Moreover, the Rule allows immigration adjudicators to undertake a number of subjec-

 4   tive inquiries, including determining whether an offense was committed in furtherance of the activity

 5   of a criminal street gang, whether a person engaged in battery or extreme cruelty involving a domestic

 6   relationship (even if it did not result in a conviction), and the purposes for which a prior conviction

 7   was vacated or modified. These changes will increase the proportion of resource-intensive cases aris-

 8   ing within the communities Plaintiffs serve, necessarily reducing the number of asylum-seekers Plain-

 9   tiffs are able to assist and causing ripple effects felt throughout Plaintiffs’ organizations.

10           96.     For example, in 2019 alone, CAIR Coalition was able to provide 4,090 individual con-

11   sultations for adults and children in detention to ascertain their asylum options, spending 4,000 hours

12   conducting jail visits. As a result of the sweeping impact of the new Rule, each consultation is likely

13   to take significantly more time—indeed, CAIR Coalition estimates that the number of adults its staff

14   could prepare during each jail visit will be reduced by a third.

15           97.     Similarly, the number of intake interviews CAIR Coalition has traditionally been able

16   to provide is driven in part by its ability to rely on appropriately supervised legal assistants and law

17   student volunteers to conduct such interviews. Given the increased complexity resulting from the new

18   Rule (including the need to assess the applicability of a number of new categorical bars to asylum

19   eligibility and the impact of any prior convictions an asylum-seeker may have), CAIR Coalition an-

20   ticipates that it will no longer be able to staff client intake interviews with legal assistant or law student

21   volunteers. The new need to staff such interviews with CAIR Coalition staff members and volunteer

22   lawyers will (i) significantly reduce the overall amount of intake interviews CAIR Coalition is able to

23   conduct and (ii) reduce CAIR Coalition’s capacity to assist as many clients as possible in other aspects

24   of the asylum process, including in trial-stage proceedings.

25           98.     The Rule will significantly reduce the amount of cases in which Plaintiffs can support

26   and represent asylum-seekers going forward, as their attorneys will need to expend an increased

27   amount of time and resources on each client’s case to establish eligibility under the Rule (including,

28   among other things, the time and resources required to obtain and assess criminal conviction and arrest

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 1   records, prepare for and put on a “mini-trial” in immigration court regarding whether there is a “reason

 2   to believe” an offense was committed in furtherance of gang activity or is a domestic violence offense,

 3   and engage expert witnesses). The Plaintiffs will also need to expend an increased amount of time

 4   and resources on the cases of applicants who are barred from asylum by the Rule and bear the burden

 5   to meet a higher standard under withholding of removal than asylum.

 6          99.     The ability of the Plaintiffs to take on new clients will also be harmed by the Rule’s

 7   impact on family members of the asylum-seekers the Plaintiffs serve, many of whom are parents who

 8   fled their home countries with their young children. If a parent who flees to the United States is subject

 9   to one of the Rule’s new eligibility bars, and thereby forced to seek withholding of removal, they will

10   no longer be able to ensure that their child or spouse can also obtain protection in the United States,

11   regardless of whether the parent is granted withholding of removal. The de facto decoupling of family

12   cases contemplated by the new Rule will likely result in increased family separation, as family mem-

13   bers who no longer qualify for asylum are removed, but will also have a significant impact on the

14   Plaintiffs, who will be faced with an increased number of cases where they must assist each family

15   member in seeking asylum as a principal, rather than being able to rely on derivative status, at the

16   same time as they face a decrease in the number of resources they have available.

17          100.    The resulting reduction in the number of people Plaintiffs are able to support will frus-

18   trate their missions, including by directly conflicting with CAIR Coalition’s mission to expand access

19   to counsel within the population it serves.

20          B.      The Rule Diverts Resources from Plaintiffs’ Core Programs

21          101.    The Rule is also causing and will continue to cause Plaintiffs to divert resources from

22   their core programs. Before the effective date of the Rule, each Plaintiff will need to expend signifi-

23   cant resources—including by diverting resources from its core programs—to analyze and interpret the

24   Rule, create new informational materials and resources to address the Rule, and provide training to its

25   staff and, in the case of CLINIC, its large network of affiliates, almost half of whom provide asylum

26   representation. For example, CAIR Coalition will need to update its client database and intake process

27   to add questions and responses relevant to the new Rule’s asylum eligibility bars, a process that will

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 1   take days of staff member time and require deferring previously planned updates due to cost and timing

 2   reasons.

 3          102.    Additionally, several of the Plaintiffs provide training and support to other practitioners

 4   and/or directly to immigrant communities, which will require them to expend substantial resources in

 5   the near term on tasks such as drafting client alerts, designing and hosting webinars, and updating any

 6   website content concerning asylum eligibility. For example, Pangea provides Know Your Rights

 7   presentations to hundreds of immigrants each year, and DSCS conducts advocacy work for ICE de-

 8   tainees and assists undocumented youth with DACA registrations. In 2020, Pangea piloted a program

 9   that provides in-depth assistance to pro se asylum applicants that has already served ten clients, while

10   CAIR Coalition hosted 182 workshops for pro se asylum-seekers and provided pro se assistance to

11   241 individuals in 2019 alone. To continue offering these programs, Pangea, CAIR Coalition, and

12   DSCS will need to analyze the new Rule, revise their training materials, and create new curricula

13   promptly. They will also need to spend more staff time on each workshop to explain the complexities

14   of the rule to pro se asylum-seekers.

15          103.    Likewise, all Plaintiffs anticipate needing to rework their existing training materials to

16   ensure their staff understand the Rule’s new eligibility and processing framework requirements, and

17   especially on the complexities of criminal law, which will take a tremendous amount of time and

18   workforce effort that the Plaintiffs cannot afford to spare.

19          104.    Moreover, because CLINIC is the hub of the largest network of immigration legal ser-

20   vices providers in the nation, its affiliate programs will look to it to provide real-time guidance regard-

21   ing the new Rule, including through in-depth articles and news alerts and multi-platform social media

22   announcements. Among other tools, CLINIC provides its affiliates with access to the “Ask-the-Ex-

23   perts” portal on its website, which allows attorneys and accredited representatives at its affiliates to

24   submit inquiries regarding individual immigration matters. In order to ensure that it is adequately

25   prepared to field questions from affiliate legal staff about the impact of the Rule on asylum-seeking

26   clients, CLINIC will need to devote substantial resources to training its legal staff. If a submitted

27   question is broadly applicable, CLINIC staff may also spend additional weeks developing trainings or

28   written resources designed to answer it. Indeed, due to the substantial number of questions CLINIC

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 1   has already received from its affiliates regarding the intersection of criminal law and immigration law,

 2   CLINIC hired a consulting attorney who specializes in this area to respond specifically to such inquir-

 3   ies. Because the attorney charges CLINIC an hourly rate, CLINIC expects to realize a negative impact

 4   to its budget, especially given the number of queries the organization will continue to receive regarding

 5   the implications of the new Rule alone.

 6            105.   Each of the tasks and expenses necessary to respond to the new Rule—including those

 7   described above—requires Plaintiffs to divert their finite resources from other aspects of the programs

 8   they provide. As a result of the Rule, Plaintiffs anticipate the need to make changes including reallo-

 9   cating staffing, devoting less time to advocacy projects and community initiatives, and taking on fewer

10   cases.

11            C.     The Rule Jeopardizes Plaintiffs’ Funding

12            106.   The Rule will also jeopardize Plaintiffs’ funding. Plaintiffs rely in part on grants from

13   sources such as states, counties, and foundations. Such grants are often conditioned on Plaintiffs’

14   ability to achieve certain targets, such as a total number of clients served or asylum applications filed

15   each year. In 2020, grants of this nature constituted approximately 65% of Pangea’s budget and ap-

16   proximately 95% of the budget for DSCS’s Deportation Defense & Legal Advocacy Project. CAIR

17   Coalition, too, receives funding from grants and foundations tied to the number of adults CAIR Coa-

18   lition is able to represent each year. Because the Rule will necessarily reduce the number of Plaintiffs’

19   clients eligible for asylum, and will require Plaintiffs to spend significantly more time on each client’s

20   case, Plaintiffs are unlikely to be able to comply with existing funding requirements—and thus expect

21   to lose a substantial amount of their funding once this Rule goes into effect.

22            107.   Similarly, CAIR Coalition has established pro bono partnerships with a number of law

23   firms with which it places asylum cases. In addition to providing pro bono legal services, many of

24   these law firms donate money to CAIR Coalition, often in exchange for opportunities to provide direct

25   assistance with and staffing of asylum matters. Currently, law firm donations of this kind account for

26   close to 5% of CAIR Coalition’s annual budget. Under the new Rule, fewer of CAIR Coalition’s

27   clients will be eligible for asylum, as a result of which it will necessarily have fewer asylum cases to

28   place with partner law firms. CAIR Coalition expects that this shift could result in a decrease in the

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 1   amount of law firm donations it receives. CLINIC expects to see a similar decrease in law firm dona-

 2   tions in connection with the impact the Rule may have on its BIA Pro Bono Project, through which

 3   CLINIC matches vulnerable immigrants with pro bono counsel to defend their cases before the Board

 4   of Immigration Appeals (“BIA”).

 5          108.    Even under the best of circumstances, the loss of a significant source of funding could

 6   have devastating impacts for the Plaintiffs. With respect to the new Rule, the harm caused by the loss

 7   of funding will be further exacerbated by the concomitant increase in demands on Plaintiffs’ resources.

 8          D.      The Rule Harms the Populations Plaintiffs Serve

 9          109.    In addition to the harmful outcomes described above, if permitted to take effect, the

10   Rule will cause serious harm to the populations Plaintiffs serve.

11          110.    To start, the harm caused by the Rule will be exacerbated by the manner in which it

12   intersects with other rules recently issued by DHS. For example: the Rule will impose a categorical

13   bar against asylum-seekers convicted of “possession or use of an identification document, authentica-

14   tion feature, or false identification document without lawful authority.” 85 Fed. Reg. at 67258–60 (to

15   be codified at 8 C.F.R. §§ 208.13(c)(6)(vi), 1208.13(c)(6)(vi)). However, this Rule follows close be-

16   hind a separate rule entitled Asylum Application, Interview, and Employment Authorization for Ap-

17   plicants, published on June 26, 2020, which prohibits asylum-seekers from applying for work author-

18   ization until at least one year after submission of an asylum application. See 85 Fed. Reg. 38532,

19   38626 (June 26, 2020) (“EAD Rule”). At the same time, asylum-seekers are generally not eligible to

20   receive federal public benefits until they are granted asylum. Id. at 38566. As a result of the EAD

21   Rule, asylum-seekers will be unable to work or to receive federal public benefits for a prolonged

22   period of time, which may drive some to seek and/or use false identification out of necessity. This

23   harm will be further exacerbated by the ongoing unemployment and health impacts of the coronavirus

24   pandemic. Under the Rule, even people seeking false identification as a means of survival (due to the

25   impacts of the EAD Rule) may be barred from asylum eligibility as a result.

26          111.    Moreover, the Rule will summarily exclude many people from asylum eligibility in

27   violation of U.S. asylum laws, decades of asylum jurisprudence, and international treaty obligations.

28   As a direct result of the Rule, thousands of people fleeing persecution, violence, and even death in

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 1   their countries of origin will be ineligible for the life-saving relief asylum is meant to provide, in direct

 2   contravention of the Refugee Convention and the Refugee Act of 1980. The Rule will also impact

 3   their family members, who will be rendered ineligible for derivative asylum and family reunification.

 4   Moreover, the Rule will leave thousands ineligible for adjustment of status based on asylum, as a result

 5   of which—even if they are permitted to remain in the United States—they will no longer have a path-

 6   way to citizenship.

 7           112.    The Rule will disproportionately impact the most vulnerable people who are fleeing

 8   persecution and seeking asylum. Asylum-seekers are often impacted by the trauma of persecution,

 9   ranging from torture, rape, and severe bodily injury to death threats, pervasive discrimination, impris-

10   onment, and subjugation of their beliefs and identities. These populations have also often suffered the

11   additional traumas of witnessing the persecution of family members and friends; harrowing journeys

12   from their countries of origin to the United States; and even facing additional discrimination and hard-

13   ship once they arrive here.

14           113.    The trauma refugees and asylum-seekers have faced frequently manifests as mental

15   illness, and studies suggest that more than one out of every three asylum-seekers struggles with de-

16   pression, anxiety, and/or post-traumatic stress disorder. Giulia Turrini et al., Common Mental Disor-

17   ders in Asylum Seekers and Refugees: Umbrella Review of Prevalence and Intervention Studies, 11

18   Int’l   J.   Mental    Health    Sys.    51   (Aug.     2017),    https://www.ncbi.nlm.nih.gov/pmc/arti-

19   cles/PMC5571637/. In many cases, the behavior that serves as the basis for criminal convictions is a

20   direct result of these traumatic experiences. For example, asylum-seekers, and even asylum-seeking

21   unaccompanied children, often have little or no access to mental health care and may turn to self-

22   medication through drugs or alcohol.3 This behavior, in turn, places them at high risk for substance-

23   related convictions; e.g., convictions for drug possession or driving under the influence. Under the

24   new Rule, any such conviction could bar someone from eligibility for asylum, even if it were a one-

25   time offense and the applicant demonstrated extensive evidence of rehabilitation. The Rule eliminates

26
     3
       Moreover, many may refrain from seeking help due to concerns about the applicability of the Inad-
27   missibility on Public Charge Grounds Rule (the “Public Charge Rule”). See 84 Fed. Reg. 41292 (Aug.
     14, 2019). Under the Public Charge Rule, a person may be rendered inadmissible to the United States
28   if they are “likely at any time to become a public charge.” Id. at 41294; see also 8 U.S.C. § 1182(a)(4).

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 1   immigration adjudicators’ discretion to consider the underlying circumstances of these types of of-

 2   fenses and thus to treat these asylum-seekers with the compassion that trauma-related addiction issues

 3   deserve.

 4          114.    The Rule’s categorical bar against asylum-seekers convicted or accused of acts of do-

 5   mestic violence will similarly impact the most vulnerable applicants. While plaintiffs unequivocally

 6   condemn domestic violence in all of its forms, the Rule as drafted fails to account for the complex

 7   dynamics of such violence and its treatment under criminal law—a failure that puts even survivors of

 8   domestic violence at risk. For example, in many states, any incident involving intimate partners, or

 9   parents and children, is treated as a domestic violence case from the outset, regardless of circumstance.

10   See Kari Hong & Philip L. Torrey, What Matter of Soram Got Wrong: “Child Abuse” Crimes that

11   May Trigger Deportation Are Constantly Evolving and Even Target Good Parents, Harv. Civ. Rts.

12   Civ. L. Rev. (Oct. 15, 2019) (“In 1999, Minnesota enacted legislation requiring a child’s exposure and

13   proximity to domestic violence to be ‘a statutorily specified form of reportable child abuse and ne-

14   glect.’ . . . ‘Parents, primarily mothers, who themselves were victims of domestic violence thus be-

15   came the subjects of neglect reports based on their alleged failure to protect their children from expo-

16   sure to the violence.’”). Additionally, instances of domestic violence often result in the arrest of both

17   the victim and the perpetrator, and victims may face criminal charges for harming perpetrators in self-

18   defense. Even if these charges are eventually dropped, the sweeping language of the Rule could render

19   these people ineligible for asylum simply as a result of having been charged in the first instance.

20          115.    As the Rule reflects, commenters noted that this portion of the Rule could be particu-

21   larly harmful for populations with overlapping vulnerabilities, such as members of the LGBTQ com-

22   munity (who are prone to experience inaction by law enforcement in response to domestic violence

23   and may be more likely to have both partners arrested) and people with limited English proficiency,

24   who may be unable to describe the abuse to police officers. 85 Fed. Reg. at 67228. Critically, the

25   Rule permits immigration adjudicators to determine that a person is ineligible for asylum if the adju-

26   dicator “knows or has reason to believe” that the applicant engaged in battery or extreme cruelty in-

27   volving a domestic relationship even if the alleged conduct did not result in a conviction. Id. at 67258–

28   60. The Rule does not articulate a standard to be applied in making such determinations, nor even

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 1   criteria for what should prompt such an inquiry. The end result is that any asylum-seeker arrested for

 2   any offense, whether convicted or not, could be subject to a nebulous, subjective inquiry—without fair

 3   notice as to what such an inquiry may entail—and could be barred from asylum eligibility as a result.

 4   The exceptionally far reach of this portion of the Rule harms asylum-seekers by leaving them vulner-

 5   able to assessments of their culpability by an immigration adjudicator without the same level of due

 6   process protection they would receive in court. Moreover, such assessments may involve the adjudi-

 7   cator’s consideration of alleged conduct that is years old and that never resulted in a conviction.

 8          116.    Although the Rule purportedly provides an exception from the domestic violence bar

 9   for survivors who “have been battered or subjected to extreme cruelty and aliens who were not the

10   primary perpetrators of violence in the relationship,” id. at 67230, this weak exemption does not mit-

11   igate the damage done by the Rule. Even for those who may seek to avail themselves of this exception,

12   the reality is that many abusers isolate, intimidate, and control their victims in ways that will make it

13   very difficult for survivors to produce evidence of being “battered or subjected to extreme cruelty”

14   such that they can successfully rely upon the exception.

15          117.    Similarly, using convictions for “harboring certain aliens” as a bar to asylum eligibility

16   disproportionately targets the most vulnerable. When asylum-seekers flee, their family members are

17   often also in danger and being persecuted; thus, asylum-seekers may help their relatives seek safety in

18   the United States as well. Under the new Rule, asylum-seekers will be rendered ineligible for asylum

19   if they assist loved ones in dire circumstances. For example, parents who are trying to help their minor

20   children escape life-threatening situations—something virtually every parent would feel compelled to

21   do—will be barred from asylum eligibility.            Id. at 67258–59 (to be codified at 8 C.F.R.

22   §§ 208.13(c)(6)(i), 1208.13(c)(6)(i)).

23          118.    The Rule’s provision on conviction and sentence vacaturs and modifications will also

24   lead to the expulsion of countless people. The Rule will bar many people who no longer have convic-

25   tions at all by creating a temporally-based presumption that orders vacating, expunging, or modifying

26   criminal convictions were entered “for the purpose of ameliorating immigration consequences” if the

27   relevant order was entered (i) after the initiation of removal proceedings or (ii) more than one year

28   after the date of the original order of conviction or sentencing. Id. at 67259–60 (to be codified at 8

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 1   C.F.R. §§ 208.13(c)(7)–(8), 1208.13(c)(7)–(8)). The Rule will thus preclude from asylum eligibility

 2   countless people who have appropriately had their sentences modified because of their rehabilitation

 3   and/or their efforts to overcome addiction or escape from domestic violence or gang pressure—people

 4   who have turned their lives around and who do not pose any danger to their community.

 5          119.    This provision will also impact those immigrants whose convictions and sentences are

 6   procedurally or substantively defective, but who only realized that fact (i) more than one year after

 7   they were convicted or sentenced and/or (ii) at the time of their immigration proceedings, or those who

 8   lack the legal resources and evidence to ensure that the change to their criminal record conforms to

 9   this contorted interpretation of the law. As with other provisions of the Rule, this provision will dis-

10   proportionately impact the most vulnerable asylum-seekers: those who are low income, who speak

11   the least English, or who have limited education and resources. Moreover, the Rule will unlawfully

12   deny essential protection to asylum-seekers by refusing to give full faith and credit to valid criminal

13   court decisions and allowing an adjudicator to “look beyond the face of” any such court order to de-

14   termine the purpose for which it was issued. Id. at 67259–60.

15          120.    The Rule’s rescission of automatic review of discretionary asylum denials under 8

16   C.F.R. §§ 208.16(e) and § 1208.16(e) will also have a devastating impact on the families of asylum-

17   seekers. People will face the impossible choice of either abandoning their spouse and children or

18   risking return to a country where their lives or freedom would be threatened in order to reunite. Those

19   spouses and children may also face persecution themselves. This provision—like all the others set

20   forth in the Rule—will thus leave more vulnerable people unprotected, particularly if those spouses

21   and children lack the resources or are otherwise unable to travel to the United States and apply for

22   asylum independently. The Rule contravenes the principles of family cohesion and unification that

23   underpin United States immigration law, that have been part of our country’s tradition since its found-

24   ing, and that were first codified more than fifty years ago in 1965 and later expanded in 1980. See

25   Immigration and Nationality Act of 1965, Pub. L. No. 89-236, 79 Stat. 911; see also Refugee Act of

26   1980, Pub. L. No. 96-212, 94 Stat. 102.

27          121.    Jointly, the three provisions of this Rule will upend the United States’ entire regime for

28   asylum protection. It will place thousands of bona fide refugees in peril of persecution, bodily harm,

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 1   and even death. The Rule violates our country’s obligations under international and domestic law and

 2   runs counter to our country’s proud history and tradition of providing refuge for the oppressed.

 3                                          CLAIMS FOR RELIEF

 4                                       FIRST CLAIM FOR RELIEF

 5    The Rule is not in accordance with law, or is in excess of statutory jurisdiction, authority, or

 6                   limitations, or short of statutory right under the INA and the APA

 7            122.   Plaintiffs incorporate and reallege the allegations above.

 8            123.   The APA requires a court to set aside agency action that is “not in accordance with

 9   law” or “in excess of statutory jurisdiction, authority, or limitations, or short of statutory right.” 5

10   U.S.C. § 706(2)(A)–(C).

11            124.   The Rule’s new categorical eligibility bars exceed the Attorney General’s authority to

12   set further conditions and limitations on asylum eligibility and conflict with the text, structure, and

13   history of the INA’s asylum provisions. The only domestic crimes that render a refugee ineligible for

14   asylum under Section 1158 are “particularly serious crimes”—that is, those crimes that (i) correspond

15   to an actual conviction, rather than suspicions or accusations; (ii) are “particularly serious”; and (iii)

16   reflect a danger to the community. See 8 U.S.C. § 1158(b)(2)(A)(ii) (emphasis added). Likewise, the

17   other statutory eligibility bars (apart from the firm-resettlement bar, which is irrelevant here) involve

18   serious conduct that renders someone a danger to others or to the nation.

19            125.   The Rule’s new categorical bars, by contrast, sweep in offenses that are not serious—

20   let alone particularly serious—and do not suggest a danger to others or to the community. Some of

21   them are also triggered by mere “reason to believe” that domestic criminal conduct occurred or had

22   certain characteristics, a dynamic found nowhere in the asylum statute. The bars are thus not “con-

23   sistent with” the statutory scheme, as required by the sole provision on which the Rule relies for its

24   authority. Id. § 1158(b)(2)(C). For the same reasons, they conflict with the governing statutory lan-

25   guage.

26            126.   The Rule also conflicts with Section 1158 because categorical bars to asylum eligibility

27   are inconsistent with the Refugee Convention, as incorporated by the INA. “Where fairly possible, a

28   United States statute is to be construed as not to conflict with international law or with an international

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 1   agreement with the U.S.” Serra v. Lappin, 600 F.3d 1191, 1198 (9th Cir. 2010) (alteration omitted)

 2   (quoting Munoz v. Ashcroft, 339 F.3d 950, 958 (9th Cir. 2003)). The Refugee Convention—relevant

 3   portions of which are incorporated into the INA—requires an individualized analysis of whether a

 4   particular crime disqualifies an asylum applicant, no matter which of the criminal bars is at issue. The

 5   government’s proposed categorical bars simply ignore that requirement, and raise concerns about com-

 6   pliance with the United States’ non-refoulement obligation. The bars are accordingly in conflict with

 7   the INA and the treaty obligations it effectuates.

 8           127.    The Rule’s presumption that criminal convictions vacated to cure substantive or con-

 9   stitutional errors remain valid based purely on when they were vacated has no basis in the INA, con-

10   flicts with basic due process principles, and fails to give full faith and credit to state court rulings.

11                                      SECOND CLAIM FOR RELIEF

12              The Rule is arbitrary, capricious, or an abuse of discretion under the APA

13           128.    Plaintiffs incorporate and reallege the allegations above.

14           129.    Under the APA, an agency action must be set aside if it is “arbitrary, capricious, an

15   abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).

16           130.    The agency’s broad shift away from individualized, multi-factor asylum determinations

17   and toward categorical bars—in violation of the Refugee Convention—represents a dramatic and un-

18   explained break. In Matter of Pula, 19 I. & N. Dec. 467 (BIA 1987), the BIA concluded that asylum

19   determinations call for an examination of “the totality of the circumstances” in which no one factor

20   “should be considered in such a way that the practical effect is to deny relief in virtually all cases,” id.

21   at 473, and “the danger of persecution should generally outweigh all but the most egregious of adverse

22   factors,” id. at 474; see also In re Kasinga, 21 I. & N. Dec. 357, 367–68 (BIA 1996) (applying Matter

23   of Pula and holding same); Hussam F. v. Sessions, 897 F.3d 707, 718–19 (6th Cir. 2018) (per curiam)

24   (summarizing BIA precedent and concluding that “failure to disclose that . . . passport was not obtained

25   in the usual manner” could not “be reasonably termed the ‘most egregious’ of adverse factors”). Nev-

26   ertheless, the agency has departed from this precedent by determining that the conditions that are the

27   subject of each of its categorical bars are the only factors of importance in any circumstance in which

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 1   one of those conditions is satisfied. The agency explanation does not account for the sudden unim-

 2   portance of the expressed considerations that drove its prior policy for decades, does not provide a

 3   reasoned explanation for disregarding such policy, does not meaningfully discuss the consequences of

 4   this shift on populations relevant to Congress’s statutory purpose, and does not adequately explain

 5   what statutorily grounded objectives would be achieved by the shift. The agency’s failure to consider

 6   these and other significant factors renders the Rule arbitrary and capricious. See Encino Motorcars,

 7   LLC v. Navarro, 136 S. Ct. 2117, 2125–27 (2016).

 8           131.   The Rule is also arbitrary and capricious because DHS and DOJ have failed to “exam-

 9   ine[ ] [the] relevant data” in issuing it. Genuine Parts Co. v. EPA, 890 F.3d 304, 311–12 (D.C. Cir.

10   2018) (alterations in original) (quoting Carus Chem. Co. v. EPA, 395 F.3d 434, 441 (D.C. Cir. 2005)).

11   The agencies do not fully consider the effects of the Rule on asylum-seekers, as they fail to give any

12   kind of estimate of the additional number or percentage of asylum-seekers who would be barred from

13   asylum based on the mandatory bars and their serious reliance interests in the agencies’ prior position.4

14   See Encino Motorcars, 136 S. Ct. at 2125–27. DHS and DOJ instead unhelpfully note that “[t]he

15   [proposed] expansion of the mandatory bars for asylum would likely result in fewer asylum grants

16   annually” and allege that they are unable to provide any estimates of “the expected decrease” “because

17   asylum applications are inherently fact-specific, and because there may be multiple bases for denying

18   an asylum application.” 85 Fed. Reg. at 67256. The Departments further admit that “the full extent

19   of the impacts [of the Rule] . . . is unclear.” Id. at 67257.

20           132.   The Rule also fails to offer any substantial evidence or reasoned explanation to support

21   how its provisions will serve the stated purposes of more predictable results and judicial efficiency.

22   See 85 Fed. Reg. at 67209 (asserting that the Rule will “create a more streamlined and predictable

23   approach that will increase efficiency in immigration adjudications” (citing 84 Fed. Reg. at 69647)).

24   In the absence of evidence to the contrary, it is difficult to see how proposing a categorical bar based

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26   4
       See 84 Fed. Reg. at 69658. DHS and DOJ provide an estimate of the number of cases that will be
     impacted by a section of the proposed Rule that removes the provisions at 8 CFR §§ 208.16(e),
27   1208.16(e) regarding reconsideration of discretionary denials of asylum but do not provide any
     estimate for the number of cases affected by these other changes. See also 85 Fed. Reg. at 67256–57
28   (noting the absence of data).

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 1   on circumstances described in unreliable documents—including police reports, rap sheets, and proba-

 2   tion reports—rather than actual convictions could avoid creating additional burdens for the already

 3   overwhelmed immigration court system by tasking adjudicators with additional, highly nuanced, re-

 4   source-intensive assessments. The agency’s failure to provide any evidence or explanation addressing

 5   how efficiency would be improved by a requirement for adjudicators to engage in mini-trials on the

 6   applicability of categorical criminal bars is arbitrary and capricious. See Moncrieffe v. Holder, 133

 7   S.Ct. 1678, 1690 (2013) (describing how the avoidance of “minitrials” “promotes judicial and admin-

 8   istrative efficiency”).

 9           133.    The Rule fails to offer any substantial evidence or reasoned explanation to support its

10   conclusions relating to the “seriousness” or “dangerousness” of the offenses (or conduct) that are the

11   subject of its automatic bars. For instance, the Rule’s reliance on criminal history, recidivism, and

12   their connection to “dangerousness” in general establishes nothing about the danger to the community

13   associated with the specific offense of illegal reentry. See 84 Fed. Reg. at 69648; 85 Fed. Reg. at

14   67243. The same is true of the Rule’s reliance on decade-old, non-targeted studies to support its bar

15   on offenses involving criminal street gangs. 84 Fed. Reg. at 69649–50; 85 Fed. Reg. at 67225. This

16   absence of substantial evidence or reasoned explanation renders the rule arbitrary and capricious.

17           134.    Finally, the Rule also entirely fails to consider numerous important aspects of the prob-

18   lem. The Rule repeatedly states that material and foreseeable impacts associated with its novel con-

19   straints on asylum eligibility were “outside the scope of the rulemaking”—including the effect of the

20   rule on the asylum system itself. See 85 Fed. Reg. 67244–45. The agency’s failure to acknowledge

21   and consider these matters renders the rule arbitrary and capricious.

22                                      THIRD CLAIM FOR RELIEF

23             Defendants failed to provide adequate notice and opportunity to comment under the

24                                                     APA

25           135.    Plaintiffs incorporate and reallege the allegations above.

26           136.    The APA requires a court to hold unlawful and set aside agency action that is arbitrary,

27   capricious, or “without observance of procedure required by law.” 5 U.S.C. § 706(2)(A), (D).

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 1           137.    The APA also requires an agency proposing a new rule to provide public notice and to

 2   “give interested persons an opportunity to participate in the rule making through submission of written

 3   data, views, or arguments with or without opportunity for oral presentation.” 5 U.S.C. § 553(c).

 4           138.    The 30-day notice-and-comment period provided was inadequate in light of the pro-

 5   posed rule’s evident complexity and potential for far-reaching impact. The Rule was also part of an

 6   improperly staggered rulemaking process, which prevented the public from understanding and com-

 7   menting on the final regulatory regime. Further, the Agency did not respond adequately to public

 8   comments, repeatedly declaring that foreseeable impacts of the Rule—including “humanitarian con-

 9   cerns for asylum seekers” facing deportation to countries in which they face persecution—were “out-

10   side of the scope of this rulemaking.” 85 Fed. Reg. at 67243. The Rule is therefore invalid.

11                                       FOURTH CLAIM FOR RELIEF

12    Defendant Wolf lacked the authority to issue the Rule under the Appointments Clause of the

13        U.S. Constitution, the Homeland Security Act, and the Federal Vacancies Reform Act

14           139.    Plaintiffs incorporate and reallege the allegations above.

15           140.    The Secretary of Homeland Security is a principal officer of the United States whose

16   appointment requires Presidential nomination and Senate confirmation. See 6 U.S.C. § 112(a)(1); see

17   also U.S. Const. art. II, § 2, cl. 2.

18           141.     Defendant Chad Wolf purports to serve as the Acting Secretary of DHS; however, he

19   has not been confirmed by the Senate to hold that office and has no valid legal claim to the role.

20           142.    The HSA mandates that, in the event of the “absence, disability, or vacancy in office”

21   of the DHS Secretary, the Deputy DHS Secretary is first in the order of succession, followed by the

22   Under Secretary for Management. 6 U.S.C. § 113(g)(1). After the Deputy Secretary and the Under

23   Secretary for Management, the HSA allows the Secretary to “designate such other officers of the De-

24   partment in further order of succession to serve as acting secretary.” Id. § 113(g)(2).

25           143.     Although Wolf’s predecessor, Kevin McAleenan, attempted to invoke § 113(g)(2) to

26   amend the order of succession on November 8, 2019, the GAO has since issued a decision concluding

27   that the “incorrect official assumed the title of Acting Secretary at [the time of former Secretary Niel-

28   sen’s resignation]” and that “subsequent amendments to the order of succession made by [McAleenan]

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 1   were invalid and officials who assumed their positions under such amendments, including Chad Wolf

 2   and Kenneth Cuccinelli, were named by reference to an invalid order of succession.” See GAO Deci-

 3   sion 1. The GAO’s interpretation is correct.

 4          144.    Wolf’s claim to the role of Acting Secretary fares no better under the FVRA. The

 5   FVRA states that a person serving as an acting officer may serve in the office “for no longer than 210

 6   days beginning on the date the vacancy occurs,” except under narrow circumstances. 5 U.S.C. §

 7   3346(a)(1) (emphasis added).

 8          145.    The relevant vacancy occurred, at the latest, by April 10, 2019, the purported effective

 9   date of former Secretary Kirstjen Nielsen’s resignation.

10          146.    Wolf purported to assume the role of Acting Secretary of DHS on November 13, 2019,

11   after the 210-day period set forth in the FVRA had passed. Both the proposed and final Rule were

12   also issued well beyond the statutory time limit.

13          147.    Because Defendant Wolf is performing the functions and duties of the Secretary of

14   DHS without having been confirmed by the Senate, in reliance on invalid orders of succession, and

15   far past the 210-day period set forth in the FVRA, he did not have valid authority to issue the Rule

16   under the Appointments Clause of the U.S. Constitution, the HSA, and/or the FVRA.

17          148.    The Rule, to the extent it relies on authority from DHS and/or Defendant Wolf, is thus

18   invalid and should not be permitted to take effect.

19                                       FIFTH CLAIM FOR RELIEF

20                             The Rule violates the Regulatory Flexibility Act

21          149.    Plaintiffs incorporate and reallege the allegations above.

22          150.    The RFA requires federal administrative agencies to analyze the effects on “small en-

23   tities” of rules they promulgate, and to publish initial and final versions of those analyses. See 5 U.S.C.

24   §§ 603–604.

25          151.    Under the RFA, the court may set aside, stay, or grant other relief for agency action in

26   violation of the RFA, id. §§ 601, 604, 605(b), 608(b), and 610. Id. 5 U.S.C. § 611.

27          152.    The Rule is a “rule” within the meaning of the RFA. Id. § 601(2).

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 1            153.   The RFA defines “small entities” to include small businesses, small nonprofit organi-

 2   zations, and small governmental jurisdictions. Id. § 601(6). Each of the Plaintiffs is a “small entity”

 3   within the meaning of the RFA and is directly affected by the Rule, which, among other things, will

 4   require them to devote substantial resources to addressing the new restrictions on asylum eligibility

 5   imposed by the Rule and will jeopardize their funding.

 6            154.   DOJ and DHS’s regulatory flexibility analysis does not comply with the RFA because

 7   DOJ and DHS concluded that the Rule will not have a significant impact on small entities. In lieu of

 8   an adequate explanation, the Rule simply asserts that “[o]nly individuals, rather than entities, are eli-

 9   gible to apply for asylum,” a statement that wholly ignores the impact of the Rule on Plaintiffs and

10   other organizations that serve asylum-seekers. 85 Fed. Reg. at 67255.

11            155.   The RFA requires DOJ and DHS to describe and estimate the number of small entities

12   that would be affected by the Rule. 5 U.S.C. § 604(a)(4). DOJ and DHS did not do so and refused to

13   include small nonprofit organizations affected by the Rule. 85 Fed. Reg. at 67255.

14            156.   The RFA requires DOJ and DHS to describe “the steps the agency has taken to mini-

15   mize the significant economic impact on small entities consistent with the stated objectives of appli-

16   cable statutes, including a statement of the factual, policy, and legal reasons for selecting the alterna-

17   tive adopted in the [Rule] and why each one of the other significant alternatives to the [Rule] consid-

18   ered by the agency which affect the impact on small entities was rejected.” 5 U.S.C. § 604(a)(6).

19   Again, DOJ and DHS failed to describe any such steps and failed to consider the “stated objectives of

20   applicable statutes,” id., including the INA, the Refugee Act, and the HSA. 85 Fed. Reg. at 67255.

21            157.   As a result of the foregoing, the Rule’s regulatory flexibility analysis does not comply

22   with the RFA.

23            158.   The Rule’s regulatory flexibility analysis is also arbitrary and capricious because it

24   does not reflect reasoned decision-making and fails to support its conclusions with substantial evi-

25   dence.

26            159.   The Rule is therefore unlawful and must be set aside. See 5 U.S.C. § 611; id. § 706.

27                                      SIXTH CLAIM FOR RELIEF

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 1                       The Rule violates the Fifth Amendment’s Due Process Clause

 2          160.      Plaintiffs incorporate and reallege the allegations above.

 3          161.      The Due Process Clause of the Fifth Amendment prohibits laws and regulations that

 4   fail to “give ordinary people fair warning about what the law demands of them.” United States v.

 5   Davis, 139 S. Ct. 2319, 2323 (2019). The requirement of fair notice applies in civil contexts just as in

 6   criminal. Sessions v. Dimaya, 138 S. Ct. 1204, 1212–13 (2018) (plurality opinion). Given the “grave

 7   nature of deportation,” the “most exacting vagueness standard” applies in the immigration context.”

 8   Id. at 1213.

 9          162.      The Rule is unconstitutionally vague. It fails to provide fair notice of the conduct that

10   may result in a bar to asylum eligibility and invites arbitrary enforcement by immigration adjudicators.

11          163.      For example, the Rule suggests that an asylum-seeker may be barred from eligibility if

12   they are convicted of any crime the adjudicator “knows or has reason to believe” was committed in

13   support, promotion, or furtherance of the activity of a criminal street gang. 85 Fed. Reg. at 67258–59

14   (to be codified at 8 C.F.R. §§ 208.13(c)(6)(ii), 1208.13(c)(6)(ii)). The Rule provides no description

15   of what behaviors, associations, or statuses could lead an adjudicator to find that an asylum-seeker

16   was involved in gang activity or that their conduct was in furtherance of the activity of a criminal street

17   gang. Nor does it provide any guidance on the types of offenses or circumstances that may trigger

18   such an inquiry, or any limitation on the evidence to which an adjudicator may look to make such a

19   determination.

20          164.      Similarly, the Rule allows adjudicators to determine whether a conviction amounts to

21   a domestic violence offense (for purposes of triggering an asylum eligibility bar) and, even where the

22   asylum-seeker has not been convicted, allows the adjudicator to determine that an asylum-seeker is

23   barred from eligibility if the adjudicator “knows or has reason to believe” that the person engaged in

24   battery or extreme cruelty involving a domestic relationship. Id. at 67258–60 (to be codified at 8

25   C.F.R. §§ 208.13(c)(6)(vii), 1208.13(c)(6)(vii)). The Rule again provides no guidance for this assess-

26   ment, including when such an assessment is appropriate; what factors should be considered in deter-

27   mining whether conduct amounts to domestic violence; and what standard should be applied.

28                                     SEVENTH CLAIM FOR RELIEF

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 1                 The Rule violates the Fifth Amendment’s Equal Protection Component

 2          165.    Plaintiffs incorporate and reallege the allegations above.

 3          166.    The equal protection component of the Fifth Amendment prohibits Defendants from

 4   denying equal protection of laws to persons residing in the United States. Official actions that reflect

 5   a racially discriminatory intent or purpose thus violate the Fifth Amendment’s equal protection com-

 6   ponent. See Bolling v. Sharpe, 347 U.S. 497, 499–500 (1954), supplemented sub. nom. Brown v. Bd.

 7   of Educ., 349 U.S. 294 (1955); see also Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429

 8   U.S. 252, 265–66 (1977). Even facially neutral policies and practices are unconstitutional if they

 9   reflect racial animus or discrimination. Id. at 266.

10          167.    In the instant case, Defendants violated the Fifth Amendment because they acted with

11   a discriminatory purpose based on race, ethnicity, and national origin in issuing the Rule. The Rule

12   thus violates the guarantee of equal protection under the Fifth Amendment.

13          168.    Defendants’ discriminatory intent in promulgating this Rule is evinced by, among other

14   things, the Rule’s impact on non-white immigrants and DHS and DOJ’s complete dismissal of and

15   failure to contend with this disproportionate impact as falling “beyond the scope of [the] rule.” 85

16   Fed. Reg. at 67226.

17          169.    Moreover, the Rule was promulgated following years of repeated comments by Presi-

18   dent Trump and others within the Trump Administration reflecting racial, ethnic, and national origin-

19   based animus, including referring to immigrants as “rapists,” “druggies,” and “killers” and comparing

20   immigrants to rats and other pests.

21          170.      Defendants have failed to articulate a compelling governmental interest justifying the

22   promulgation of the Rule, and they have not tailored the Rule to address any legitimate interest.

23          171.    Plaintiffs and the communities they serve will suffer severe harm as a result of the

24   implementation of the Rule.

25                                             JURY DEMAND

26          172.    Plaintiffs demand a jury trial on all counts triable by jury.

27                                         PRAYER FOR RELIEF

28          WHEREFORE, Plaintiffs request that the Court:

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 1          A.     Hold unlawful and set aside the Rule under 5 U.S.C. § 706(2);

 2          B.     Declare the Rule arbitrary, capricious, an abuse of discretion, otherwise not in accord-

 3   ance with law, and without observance of procedure as required by law, in violation of the APA, INA,

 4   and RFA;

 5          C.     Declare the Rule invalid for being co-issued by Defendant Chad Wolf, who lacked the

 6   authority to do so pursuant to the Appointments Clause of the United States Constitution, the HSA,

 7   and the FVRA;

 8          D.     Declare the Rule unconstitutional for violating the Due Process and Equal Protection

 9   guarantees of the Fifth Amendment of the United States Constitution;

10          E.     Enter a preliminary and permanent nationwide injunction, without bond, enjoining De-

11   fendants, their officials, agents, employees, and assigns from implementing or enforcing the Rule;

12          F.     Stay the implementation or enforcement of the Rule;

13          G.     Award Plaintiffs reasonable attorneys’ fees and costs pursuant to 28 U.S.C. § 2412;

14   and

15          H.     Grant any other and further relief this Court may deem just and proper.

16                                                       Respectfully submitted,

17
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28    HARVARD IMMIGRATION AND REFUGEE

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                                  Violation of Administrative Procedure Act, Regulatory Flexibility Act, Fifth Amendment (Equal Protection and Due Process), Appointments Clause of the U.S. Constitution, the Homeland Security Act, and the Federal Vacancies Reform Act


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                              ATTACHMENT 1

             Plaintiffs                                 Defendants

PANGEA LEGAL SERVICES;                 U.S. DEPARTMENT OF HOMELAND
                                       SECURITY;
DOLORES STREET COMMUNITY
SERVICES, INC.;                        CHAD F. WOLF, under the title of Acting
                                       Secretary of Homeland Security;
CATHOLIC LEGAL IMMIGRATION
NETWORK, INC.; and                     KENNETH T. CUCCINELLI, under the title
                                       of Senior Official Performing the Duties of
CAPITAL AREA IMMIGRANTS’ RIGHTS        the Deputy Secretary for the Department of
COALITION                              Homeland Security;

                                       U.S. CITIZENSHIP AND IMMIGRATION
                                       SERVICES;

                                       U.S. IMMIGRATION AND CUSTOMS
                                       ENFORCEMENT;

                                       TONY H. PHAM, under the title of Senior
                                       Official Performing the Duties of the Director
                                       of U.S. Immigration and Customs
                                       Enforcement;

                                       U.S. CUSTOMS AND BORDER
                                       PROTECTION;

                                       MARK A. MORGAN, under the title of
                                       Senior Official Performing the Duties of the
                                       Commissioner of U.S. Customs and Border
                                       Protection;

                                       U.S. DEPARTMENT OF JUSTICE;

                                       WILLIAM P. BARR, under the title of U.S.
                                       Attorney General;

                                       EXECUTIVE OFFICE FOR
                                       IMMIGRATION REVIEW; and

                                       JAMES MCHENRY, under the title of
                                       Director of the Executive Office for
                                       Immigration Review
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                                       ATTACHMENT 2

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